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                IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

LUBY’S FUDDRUCKERS                 §
RESTAURANTS, LLC                   §
                                   §
      Plaintiff                    §
                                   §
v.                                 §
                                   §
VISA INC., VISA U.S.A, INC.,       §
VISA INTERNATIONAL SERVICE         §
ASSOCIATION, MASTERCARD            §
INCORPORATED, MASTERCARD           §
INTERNATIONAL INCORPORATED,        §           CASE NO. 4:17-cv-01049
BA MERCHANT SERVICES LLC,          §
BANK OF AMERICA CORPORATION, §
BARCLAYS BANK OF DELAWARE,         §
CAPITAL ONE, N.A., CAPITAL         §
ONE BANK (USA), N.A., CAPITAL ONE §
FINANCIAL CORPORATION,             §
CHASE BANK USA, N.A.,              §
JPMORGAN CHASE BANK, N.A.,         §
JPMORGAN CHASE & CO.,              §
CITIBANK, N.A., CITIGROUP, INC.,   §
FIFTH THIRD BANCORP,               §
FIRST NATIONAL BANK OF OMAHA, §
HSBC FINANCE CORPORATION,          §
HSBC NORTH AMERICA HOLDINGS, §
INC., PNC FINANCIAL SERVICES       §
GROUP, INC., SUNTRUST BANKS, INC., §
SUNTRUST BANK, TEXAS               §
INDEPENDENT BANCSHARES, INC., §
WELLS FARGO & COMPANY, AND         §
WELLS FARGO MERCHANT               §
SERVICES, LLC                      §
                                   §
      Defendants                   §

              PLAINTIFF’S FIRST AMENDED COMPLAINT
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       Plaintiff Luby’s Fuddruckers Restaurants, LLC f/k/a Luby’s Restaurants LP

(“Plaintiff”) complains of Visa, Inc., Visa U.S.A., Inc., Visa International Service

Association     (collectively,    “Visa”),    MasterCard      Incorporated,     MasterCard

International Incorporated (collectively, “MasterCard”) (Visa and MasterCard

collectively referred to as the “Networks”), BA Merchant Services LLC (f/k/a

National Processing, Inc.), Bank of America Corporation, Barclays Bank of

Delaware, Capital One, N.A., Capital One Bank (USA), N.A., Capital One

Financial Corporation, Chase Bank USA, N.A., JPMorgan Chase Bank, N.A.,

JPMorgan Chase & Co., Citibank N.A., Citigroup, Inc., Fifth Third Bancorp, First

National Bank of Omaha, HSBC Finance Corporation, HSBC North America

Holdings, Inc., PNC Financial Services Group, Inc., SunTrust Banks, Inc.,

SunTrust Bank, Texas Independent Bancshares, Inc., Wells Fargo & Company,

and Wells Fargo Merchant Services, LLC (collectively, “Bank Defendants”) (all

collectively, “Defendants”)1 as follows:

              INTRODUCTION AND NATURE OF THE ACTION

       1.     The Defendants have conspired, combined, and made agreements to

restrain trade. Visa and MasterCard manage, coordinate, and govern a combination

with member banks, including the Bank Defendants, in restraint of trade within the


1
 The Defendants have various predecessors whose liabilities they have assumed. The allegations
against such Defendants in this Petition include the activities of such predecessors where
applicable.
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meaning of the Texas Free Enterprise and Antitrust Act of 1983. The Bank

Defendants are (and their predecessors were) members of both the Visa and

MasterCard networks, and as such issue both Visa-branded and MasterCard-

branded credit and debit cards. The Bank Defendants are independently owned and

managed banks and financial institutions that issue credit and debit cards to

consumers, but they have agreed to abide by the rules of Visa and MasterCard that

forbid the Bank Defendants’ competing for merchant acceptance of the credit and

debit cards they issue.

      2.       The Bank Defendants issue two main categories of payment cards:

credit cards and debit cards. Credit cards are payment cards that allow consumers

to make purchases on credit and include charge cards that the full balance to be

paid upon receipt of the billing statement. Debit cards, on the other hand, function

more like checks and either draw quickly from a consumer’s demand account or

are prepaid.

      3.       The Bank Defendants earn income on credit cards through fees and

charges to the cardholder, interest charges on the amount of credit being extended,

and from fees and penalties for late payment on card balances. Banks earn income

on debit cards through the opportunity to use the funds on deposit in the related

accounts and on various fees associated with those accounts. The Bank Defendants

also earn income on credit and debit cards through the interchange fees paid by


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merchants. Interchange fees are imposed on merchants by Visa and MasterCard for

the privilege of accepting a credit or debit card as a means of payment, and such

fees are paid directly by merchants to the bank that issued the card used as a form

of payment. The profitability to issuing banks of credit and debit cards directly

increases with the size and frequency of transactions in which the cards they have

issued are used.

      4.     The Bank Defendants compete with one another to issue cards to

consumers (sometimes referred to hereafter as “cardholders”) who use those cards

to purchase goods and services from merchants. For example, issuing banks offer

cards with various combinations of interest rates, annual fees, cash back rewards,

points, and other features to compete for cardholders and to induce cardholders to

use their cards. The member banks, including the Bank Defendants, do not,

however, compete with each other for preferential acceptance by merchants at the

point of sale as they should. Competition for such preferential treatment would

have resulted in lower prices for both merchants and cardholders, including by

giving discounts or other benefits to preferred cardholders at the point of sale.

Such competition would also enhance the value of these cards to cardholders by

stimulating innovation and providing more choices.

      5.     Visa and MasterCard have adopted nearly identical rules, which are

agreed to by their member banks, including the Bank Defendants, and which are


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imposed on merchants that accept cards issued by those banks. These rules, or

Competitive Restraints, eliminate competition among the member issuing banks

for merchant acceptance of credit and debit cards. Nearly all card issuers in the

United States are members of Visa and MasterCard, and as a consequence of their

agreeing to rules that preclude them from independently competing for merchant

acceptance, Visa and MasterCard and their members have obtained and maintained

market power in the markets for merchant acceptance of credit and debit cards in

the United States, and alternatively, in the markets for merchant acceptance and

cardholder issuance of credit and debit cards in the United States. The exercise of

this market power has enabled the Defendants to force merchants to pay excessive

interchange and network fees. In this manner, the Defendants have unlawfully

restrained and continue to unlawfully restrain competition in the credit card and

debit card markets.

      6.    The principal rules that constitute the Competitive Restraints are the

Honor All Cards Rules, the All Outlets Rules, the No Discount Rules, and the No

Surcharge Rules. These rules, individually and in combination, have (a) denied

merchants the benefits of competition as to the terms, including a fee (if any), for

the acceptance of cards of particular issuing banks and (b) preclude card issuers

from competing for merchant acceptance of their cards. As a consequence, the

setting of “default” interchange fees effectively fixes the price of acceptance at


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artificially high levels. Plaintiff has paid and continues to pay significantly higher

costs to accept Visa-branded and MasterCard-branded credit and debit cards in

payment for their sales than they would if the banks issuing such cards competed

for merchant acceptance.

      7.     Because of their participation in the Competitive Restraints through

their membership in Visa and MasterCard, the Bank Defendants do not compete

for transaction volume by independently competing for merchant acceptance of the

cards they issue.

      8.     While Visa and MasterCard nominally refer to their interchange fee

schedules as setting “default” amounts, suggesting it is possible for issuing banks

and merchants to bargain for different interchange rates, the Competitive Restraints

prevent such bargained agreements. By setting and enforcing artificially high

interchange fees applicable to all merchants that accept cards issued by their

members, Visa and MasterCard act as agents of the Bank Defendants for the

purposes of exercising the market power gained by their combinations.

      9.     If freed of the imposition of “default” interchange fees and the

Competitive Restraints, issuing banks and merchants would operate in competitive

markets, and merchants would benefit from such competition through lower

interchange fees. Collectively set interchange fees do not protect merchants such as

Plaintiff or cardholders, but rather allow issuing banks, such as the Bank


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Defendants, to charge interchange fees far in excess of their costs. In competitive

markets, interchange fees would move to competitive levels, and the interchange

fees paid by Plaintiff would be substantially below the amounts it has paid since

January 1, 2004 if the fee would have been charged at all. And if merchants had

the ability to use competitive strategies with respect to their acceptance of the cards

of individual issuers, they would induce competition among issuing banks that

would lead to far lower interchange fees. The resulting lack of competition for

preferential treatment by merchants at the point of sale also increases costs, stifles

innovation, limits choices, and reduces value for cardholders. The Competitive

Restraints have thus harmed both merchants, who pay supracompetitive

interchange fees, and cardholders, who both pay higher prices and receive card

services of diminished quality and choice.

      10.    The Visa Defendants’ and MasterCard Defendants’ agreements not to

compete and price-fixing schemes are naked restraints of trade and per se

violations of the Texas Free Enterprise and Antitrust Act.

      11.    Even if the Visa Defendants’ and MasterCard Defendants’ conduct is

analyzed under the rule of reason, the substantial harm to competition caused by

the cartels violates the Texas Free Enterprise Act as an unreasonable restraint of

trade. None of Defendants’ anticompetitive rules and practices is reasonably

necessary for the functioning of the credit and debit card networks. Any benefits


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that Defendants claim are achieved by these restraints of trade can be

accomplished by means that are less destructive and harmful to competition. Even

if Defendants’ restraints have any procompetitive benefit, their anticompetitive

effects—massive overcharges to merchants and their customers, higher prices and

card services of diminished quality and choice for cardholders, and maintenance of

substantial market power—vastly outweigh any such benefit.

      12.   The anticompetitive harm to merchants and consumers from

Defendants’ price fixing and other anticompetitive conduct has been staggering.

During the Damages Period, Defendants imposed interchange fees estimated at

more than $450 billion on merchants in the United States. Defendants’

anticompetitive conduct has also injured competition in the credit and debit card

markets by depriving market participants of lower prices as well as innovative new

payment options and cost-saving approaches (e.g., to reduce fraud) that would

have substantially benefitted U.S. merchants and consumers.

      13.   Plaintiff has paid tens of millions of dollars in credit and debit

interchange fees to issuing banks that are members of Visa and MasterCard since

2004. Interchange fees are one of Plaintiff’s largest operating expense items.

Elimination of the Competitive Restraints and restoration of competitive markets

for merchant acceptance of credit cards and debit cards would substantially reduce

interchange fees, allowing Plaintiff to operate more efficiently and at lower costs,


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to its benefit and the benefit of its customers, including cardholders. Plaintiff

operates in an intensely competitive market and would use the savings from a

reduction in its interchange fee costs to increase their competitiveness by

enhancing the value its customers and cardholders receive.

                                 DEFINITIONS

      14.   For purposes of this Complaint, the following definitions apply.

            a.     “Acquiring bank” or “Acquirer” means a member of Visa
                   and/or MasterCard that acquires payment transactions from
                   merchants and acts as a liaison between the merchant, the
                   issuing bank, and the Payment-Card Network to assist in
                   processing the payment transaction. Visa and MasterCard rules
                   require that an acquiring bank be a party to every merchant
                   contract. In a typical payment transaction, when a customer
                   presents a Visa or MasterCard card for payment, the merchant
                   relays the transaction information to the acquiring bank. The
                   acquiring bank then contacts the issuing bank via the network
                   for authorization based on available credit or funds.

            b.     “Credit cards” are payment cards enabling the cardholder to
                   purchase goods or services from any merchant that has an
                   agreement to accept such cards. The credit cards at issue here
                   are general purpose payment cards, as distinguished from
                   private label cards, which can only be used at a single
                   merchant. Payment to a merchant for the goods or services
                   purchased using a credit card is made by the issuing bank of the
                   card on behalf of the cardholder, with repayment by the
                   cardholder subject to an agreement between the issuing bank
                   and the cardholder. Credit cards enable a cardholder to obtain
                   goods or services from a merchant on credit provided by the
                   card issuer. Credit card issuers compete for consumers by
                   offering a variety of terms and types of cards, which vary by
                   level of rewards, that are intended to induce consumers to use
                   their cards. Cards with a higher level of rewards are often
                   referred to as “premium” cards and carry higher interchange
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                    fees, though they afford no additional benefits to merchants.
                    Credit cards include charge cards, which allow the cardholder
                    to obtain goods or services on credit but require payment in full
                    on a regular basis.

             c.     “Debit cards” are payment cards that allow holders of accounts
                    at the issuing bank to pay for goods or services or to obtain cash
                    by directly accessing their accounts. They also include pre-paid
                    cards, which require prepayment of the amount that can be
                    drawn by the user of the card. There are two methods of
                    authenticating debit cards. PIN debit cards require the
                    cardholder to enter a four-digit personal identification number
                    (PIN) to authenticate the cardholder. Signature debit cards
                    usually require the cardholder’s signature at the time of the
                    transaction. In the past, some PIN debit cards did not carry
                    interchange fees or were subject to reverse interchange fees —
                    meaning the merchant received a fee for card acceptance.
                    Signature debit cards generally carry higher interchange fees,
                    some of which equal the interchange fees charged for credit
                    card transactions.

             d.     “Interchange fee” is the fee that issuing banks are paid by
                    merchants when they accept a credit card or debit card issued
                    by a member of the Visa or MasterCard combinations.
                    Interchange fees are deducted by an issuing bank from the
                    funds owed to a merchant prior to the settlement of a Visa or
                    MasterCard credit card or debit card transaction.

             e.     “Issuing bank” or “Issuer” means a member of Visa and/or
                    MasterCard that issues Visa and/or MasterCard branded
                    payment cards to consumers for their use as payment systems.

                                  THE PARTIES

       15.   Plaintiff’s principal place of business is in Houston, Texas. Plaintiff

 operates in the restaurant industry under several brands including Luby’s Cafeteria,

 Fuddruckers, Luby’s Culinary Contract Services, Cheeseburger in Paradise, Bob


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 Luby’s Seafood, Luby’s and Koo Koo Roo Chicken Bistro. Plaintiff was formerly

 known as Luby’s Restaurants LP and acquired Fuddruckers in 2010. Plaintiff’s

 revenue for fiscal year 2016 exceeded $400 million. Plaintiff accepts both Visa

 and MasterCard debit and credit cards for payment. Accordingly, Plaintiff has been

 forced to pay Defendants’ supracompetitive interchange fees and to abide by

 Defendants’ Competitive Restraints. Plaintiff, therefore, has been injured in its

 business or property as a result of the unlawful conduct alleged herein. Plaintiff

 seeks to recover damages incurred as a result of the conduct detailed in this

 Complaint on behalf of itself and on behalf of its franchised stores in Texas that

 have assigned their claims to Plaintiff.

       16.    Plaintiff has been a class member of the proposed class action

 captioned: In re Payment Card Interchange Fee and Merchant Discount Antitrust

 Litigation, Case No. 1:05-md-01720-JGJO, United States District Court for the

 Eastern District of New York. That class action is still pending and no deadline for

 opting out of the class action bars this action.

       17.    Until the corporate restructuring and initial public offering described

 below, Defendant Visa International Service Association was a non-stock

 Delaware corporation with its principal place of business in Foster City, California.

 Defendant Visa U.S.A., Inc. was a group member of Visa International Service

 Association and was also a non-stock Delaware corporation. Visa U.S.A., Inc. had


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 its principal place of business in San Francisco, California. Visa U.S.A., Inc.’s

 members were the financial institutions acting as issuing banks and acquiring

 banks in the Visa system.

         18.   Defendant Visa Inc. is a Delaware corporation with its principal place

 of business in San Francisco, California. Defendant Visa Inc. was created through

 a corporate reorganization in or around October 2007. Visa U.S.A. Inc.’s member

 banks were the initial shareholders of Visa, Inc.

         19.   Defendants Visa Inc., Visa U.S.A., Inc., and Visa International

 Service Association are referred to collectively as “Visa” in this Complaint. The

 Visa entities may be served with process through their registered agent,

 Corporation Services Company, 211 E. 7th Street, Suite 620, Austin, Texas 78701.

         20.   Defendant MasterCard Incorporated was incorporated as a Delaware

 stock corporation in May 2001. Its principal place of business is in Purchase, New

 York.

         21.   Defendant MasterCard International Incorporated was formed in

 November 1966 as a Delaware membership corporation whose principal or

 affiliate members were its financial institution issuing banks and acquiring banks.

 Prior to the initial public offering described below, MasterCard International

 Incorporated was the principal operating subsidiary of MasterCard Incorporated.




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       22.    Defendants MasterCard Incorporated and MasterCard International

 Incorporated are collectively referred to as “MasterCard” in this Complaint.

 MasterCard Incorporated may be served with process upon its General Counsel

 and Chief Franchise Officer, Tim Murphy, at 2000 Purchase Street, Purchase, NY

 10577 and MasterCard International Incorporated may be served with process

 through its registered agent, CT Corporation System, 350 N. St. Paul Street, Suite

 2900, Dallas, Texas 75201.

       23.   Defendant BA Merchant Services LLC (f/k/a National Processing,

 Inc.) is an Ohio corporation with its principal place of business in Louisville,

 Kentucky, and is a wholly owned subsidiary of Defendant Bank of America, N.A.,

 which in turn is a wholly owned subsidiary of NB Holdings, which in turn is

 wholly owned by Defendant Bank of America Corporation, a Delaware

 corporation with its principal place of business in Charlotte, North Carolina.

 Defendant BA Merchant Services LLC (f/k/a National Processing, Inc.) and Bank

 of America Corporation are collectively referred to as “Bank of America.”

 Defendants BA Merchant Services LLC, and Bank of America Corporation may be

 served with process through their registered agent, CT Corporation System, 350 N.

 St. Paul Street, Suite 2900, Dallas, Texas 75201.

       24.   Bank of America is a member of both Visa and MasterCard. Between

 2000 and 2005 it was represented on the Visa U.S.A. Board of Directors. It is an


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 Issuing Bank that, throughout this judicial district, issues Payment Cards to

 individuals and businesses. It is also an Acquiring Bank that provides card

 acceptance services to merchants. It is currently and/or has been represented on the

 Visa Board of Directors. It has had actual knowledge of, and has knowingly

 participated in, the conspiracies alleged in this Complaint.

       25.    MBNA America Bank, N.A. (“MBNA”) was a Delaware corporation

 with its principal place of business in Wilmington, Delaware and a wholly-owned

 subsidiary of MBNA Corporation, a Maryland corporation with its principal place

 of business in Wilmington, Delaware.

       26.    MBNA was a member of both Visa and MasterCard. Between 2000

 and 2006 it was represented on the MasterCard Board of Directors for the U.S.

 Regions. It was an Issuing Bank that issued general purpose payment cards to

 individuals and businesses. It was represented on the Board of Directors of

 MasterCard. It has had actual knowledge of, and knowingly participated in, the

 conspiracies alleged in this Complaint.

       27.    On January 1, 2006, Defendant Bank of America Corporation

 acquired 100 percent of the stock of MBNA and assumed its liabilities.

       28.    Defendant Barclays Bank of Delaware is a Delaware corporation with

 its principal place of business in Wilmington, Delaware. Defendant Barclays Bank

 of Delaware is also liable for the wrongful conduct of Juniper Bank before Juniper


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 Bank changed its name to Barclays Bank of Delaware in 2006. Barclays Bank

 Delaware and Juniper Bank are collectively referred to herein as “Barclays.”

 Barclays may be served with process upon its General Counsel and Chief

 Administrative Officer, Clinton Walker, at their corporate headquarters located at

 100 S. West Street, Wilmington, DE 19801.

       29.    Barclays is currently a member of both Visa and MasterCard and

 issues credit cards through its Barclaycard division. Barclays has had actual

 knowledge of, and has knowingly participated in, the conspiracies alleged in this

 Complaint.

       30.    Defendants Capital One, N.A. and Capital One Bank, (USA), N.A. are

 national banks with principal places of business in McLean, Virginia. They are

 wholly-owned subsidiaries of Defendant Capital One Financial Corporation, a

 Delaware corporation with its principal place of business in McLean, Virginia.

 Defendants Capital One, N.A., Capital One Bank, (USA), N.A., and Capital One

 Financial Corporation are collectively referred to as “Capital One.” On July 1,

 2007, Capital One F.S.B. merged into Defendant Capital One, N.A. and ceased to

 exist as a distinct legal entity. Capital One, N.A. thereby assumed the liabilities of

 Capital One F.S.B. Defendants Capital One, N.A., Capital One Bank, (USA),

 N.A., and Capital One Financial Corporation may be served with process upon




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 their General Counsel, Matt Cooper, at 1680 Capital One Drive, McLean, VA

 22102.

       31.   Capital One is a member of both Visa and MasterCard. Between 2000

 and 2006, it was represented on the MasterCard Board of Directors. It is an Issuing

 Bank that issues Payment Cards to individuals and businesses. It is also an

 Acquiring Bank that provides card-acceptance services to merchants. It has had

 actual knowledge of, and has knowingly participated in, the conspiracies alleged in

 this Complaint.

       32.   Defendant Chase Bank USA, N.A., is a New York bank with its

 principal place of business in New York, New York. It is the successor to Chase

 Manhattan Bank USA, N.A. and is a wholly owned subsidiary of Defendant

 JPMorgan Chase & Co., a Delaware corporation with its principal place of

 business in New York, New York. Defendant JPMorgan Chase Bank, N.A. is a

 nationally chartered bank operating under the laws of Ohio with its primary place

 of business in Columbus, Ohio. Defendants Chase Bank USA, N.A., JPMorgan

 Chase Bank, N.A., and JPMorgan Chase & Co. are collectively referred to herein

 as “Chase.” The Chase Defendants may be served with process through CT

 Corporation System, 350 N. St. Paul Street, Suite 2900, Dallas, Texas 75201.

       33.   Chase is a member of both Visa and MasterCard. It is an Issuing Bank

 that issues Payment Cards to individuals and businesses. Between 2000 and 2003,


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 Chase was represented on the MasterCard Board of Directors for the United States.

 Between 2003 and 2006, it was represented on the Visa U.S.A. Board of Directors.

 Chase is currently represented on the Board of Directors of Defendant Visa, Inc.

 Moreover, a longstanding Chase senior executive, Charles Scharf, has been

 installed as the CEO of Visa Inc., and another former Chase executive, Ryan

 McInerney, has been hired as President of Visa Inc.

       34.   In July, 2004, Chase acquired Bank One Corporation and Bank One

 Delaware, N.A., which also had acted as an Issuing Bank and an Acquiring Bank,

 and assumed their liabilities. Before the acquisition, Bank One Corporation had

 actual knowledge of and knowingly participated in the conspiracies alleged in this

 Complaint. From at least 2000 until its acquisition by Chase, Bank One was

 represented on the Visa U.S.A. Board of Directors.

       35.   Washington Mutual Bank and Washington Mutual, Inc. were

 Washington corporations with their principal places of business in Seattle,

 Washington. On October 3, 2005, Washington Mutual, Inc. completed its

 acquisition of Defendant Providian National Bank. From that date forward,

 Washington Mutual, Inc. and Providian National Bank are collectively referred to

 as “Washington Mutual.” Between 2002 and 2005 Providian was represented on

 the Visa U.S.A. Board of Directors. From 2005 to 2006 Washington Mutual was

 represented on the Visa U.S.A. Board of Directors.


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       36.    Through its acquisition of Providian National Bank, Washington

 Mutual was an Issuing Bank that issued general purpose payment cards to

 individuals and businesses. It has had actual knowledge of, and has knowingly

 participated in, the conspiracies alleged in this Complaint.

       37.    On September 25, 2008, the Office of Thrift Supervision placed

 Washington Mutual Bank into receivership, with the FDIC as receiver. The

 deposits, assets, and certain liabilities of Washington Mutual Bank, including those

 alleged here, were then immediately acquired by Defendant JP Morgan Chase &

 Co. On September 26, 2008, Defendant Washington Mutual, Inc. filed for

 bankruptcy in the District of Delaware.

       38.    Defendant Providian National Bank, a national banking association

 with its principal place of business in Tilton, New Hampshire, was a wholly-owned

 subsidiary of Defendant Providian Financial Corporation, a Delaware corporation

 with its principal place of business in San Francisco, California. On October 1,

 2005, Defendant Providian National Bank was acquired by Washington Mutual

 and was renamed Washington Mutual Card Services, Inc. Washington Mutual

 Card Services, Inc. is a Delaware corporation with its principal place of business in

 San Francisco, California.

       39.    Providian was a member of both Visa and MasterCard. It was an

 Issuing Bank that issued general purpose payment cards to individuals and


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 businesses. It has had actual knowledge of, and has knowingly participated in, the

 conspiracies alleged in this Complaint.

        40.    JP Morgan Chase Bank, NA acquired the credit card operations and

 receivables of Washington Mutual Bank from the FDIC on September 25, 2008.

 By acquiring these assets, JPMorgan Chase Bank, N.A. became the successor in

 interest to Washington Mutual and Providian’s liabilities that are associated with

 this litigation.

        41.    Defendant Citibank N.A., is a bank with its principal place of business

 in New York, New York, and is a subsidiary of Defendant Citigroup, Inc., a

 Delaware corporation with its principal place of business in New York, New York.

 Citicorp merged into Defendant Citigroup, Inc., on August 1, 2005. Defendants

 Citibank N.A. and Citigroup, Inc. are collectively referred to herein as “Citigroup.”

 Citibank N.A. may be served with process upon its General Counsel, Rohan

 Weerasinghe, at 399 Park Avenue, 2nd Floor, New York, NY 10022 and Citigroup,

 Inc. may be served with process through its registered agent, CT Corporation

 System, 350 N. St. Paul Street, Dallas, Texas 75201.

        42.    Citigroup is a member of both Visa and MasterCard. It is an Issuing

 Bank that issues general purpose payment cards to individuals and businesses. It is

 also an Acquiring Bank that provides card-acceptance services to merchants. It has

 been and remains represented on the MasterCard. Board of Directors. It has had


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 actual knowledge of, and has knowingly participated in, the conspiracies alleged in

 this Complaint.

       43.    Citibank (South Dakota), N.A. was a South Dakota bank with its

 principal place of business in Sioux Falls, South Dakota. It was identified in

 Citigroup’s 2007 10-K filing as Citigroup’s “primary banking entity responsible

 for U.S. credit card activities.” Until 2006, Defendant Citibank (South Dakota),

 N.A. was a direct subsidiary of Citibank, N.A. In 2006 Defendant Citibank, N.A.

 transferred its investment in Defendant Citibank (South Dakota), N.A. to

 Defendant Citigroup, Inc. Citibank (South Dakota), N.A., with its attendant

 liabilities, merged into Citibank, N.A. in 2011.

       44.    Defendants Fifth Third Bancorp (“Fifth Third”) is an Ohio

 corporation with its principal place of business in Cincinnati, Ohio. Fifth Third

 may be served with process through Corporation Services Company at 211 E. 7th

 Street, Suite 620, Austin, Texas 78701.

       45.    Fifth Third is a member of both Visa and MasterCard. It is an Issuing

 Bank that issues Payment Cards to individuals and businesses. From at least 2005

 to 2006, Fifth Third was represented on the MasterCard Board of Directors. It is

 also an Acquiring Bank that, throughout this judicial district, provides card-

 acceptance services to merchants. It has had actual knowledge of, and has

 knowingly participated in, the conspiracies alleged in this Complaint.


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       46.   Defendant First National Bank of Omaha is a subsidiary of First

 National Bank of Nebraska, which is a Nebraska corporation with its principal

 place of business in Omaha, Nebraska. First National Bank of Omaha may be

 served with process through its registered agent, CT Corporation System, 350 N.

 St. Paul Street, Suite 2900, Dallas, Texas 75201.

       47.   First National Bank of Omaha is a member of both Visa and

 MasterCard. Between 2000 and 2006, First National Bank of Omaha or First

 National Bank of Nebraska was represented on the Visa Board of Directors. It is an

 Issuing Bank that issues Payment Cards to individuals and businesses. It is also an

 Acquiring Bank that provides card-acceptance services to merchants. It has had

 actual knowledge of, and has knowingly participated in, the conspiracies alleged in

 this Complaint.

       48.   Defendants HSBC Finance Corporation and HSBC North America

 Holdings, Inc. (“HSBC”) are Delaware corporations with their principal place of

 business in Mettawa, Illinois. HSBC Finance Corporation may be served with

 process through its registered agent CT Corporation System, 350 N. St. Paul Street,

 Suite 2900, Dallas, Texas 75201 and HSBC North America Holdings, Inc. by be

 served through its Senior Executive Vice President and General Counsel, Mark

 Steffensen at 452 Fifth Avenue, New York, NY 10018.




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       49.    HSBC is a member of both Visa and MasterCard. HSBC is an Issuing

 Bank that issues Payment Cards to individuals and businesses. It is currently and/or

 has been represented on the MasterCard Board of Directors. It has had actual

 knowledge of, and has knowingly participated in, the conspiracies alleged in this

 Complaint.

       50.    National City Corporation was a Delaware Corporation with its

 principal place of business in Cleveland, Ohio. National City Bank of Kentucky

 merged into National City Bank in 2007. National City Bank is referred to herein

 as “National City.”

       51.    National City was a member of both Visa and MasterCard. Between

 2003 and 2006, it was represented on the Visa Board of Directors. It was an

 Issuing Bank. National City was also an Acquiring Bank through its former

 subsidiary, National Processing, Inc. (n/k/a BA Merchant Services LLC), until

 National Processing, Inc. (n/k/a BA Merchant Services LLC) was purchased by

 Bank of America in October 2004. Until then, National City was an Acquiring

 Bank that provided card-acceptance services to merchants. It had actual knowledge

 of, and has knowingly participated in, the conspiracies alleged in this Complaint.

       52.    On October 24, 2008, Defendant PNC Financial Services Group, Inc.

 executed a stock-for-stock acquisition of National City Corporation, which was

 supported by the Troubled Asset Relief Program’s Capital Purchase Program.


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 National City and its banking affiliates have merged into PNC and assumed the

 PNC name. As part of this acquisition, PNC assumed the payment-card related

 assets and liabilities of National City, including the liability to the Plaintiff in this

 action. PNC may be served with process through its registered agent Corporation

 Services Company at 211 E. 7th Street, Suite 620, Austin, Texas 78701.

       53.    Defendant SunTrust Banks, Inc. (“SunTrust”) is a Georgia corporation

 with its principal place of business in Atlanta, Georgia. Defendant SunTrust Bank

 is a bank operating under the laws of Georgia with it principal place of business in

 Atlanta, Georgia.

       54.    SunTrust is a member of both Visa and MasterCard. Between 2000

 and 2006 it was represented on the Visa U.S.A. Board of Directors. Through its

 subsidiary, Defendant SunTrust Bank, SunTrust is an Issuing Bank that issues

 Payment Cards to individuals and businesses. It is also an Acquiring Bank that

 provides card-acceptance services to merchants. It has had actual knowledge of,

 and has knowingly participated in, the conspiracies alleged in this Complaint.

 Defendants SunTrust Banks, Inc. and SunTrust Bank may be served with process

 through their registered agent Corporation Services Company at 211 E. 7th Street,

 Suite 620, Austin, Texas 78701.

       55.    Defendant Texas Independent Bancshares, Inc. is a Texas corporation

 with its principal place of business in Texas City, Texas. Texas Independent


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 Bancshares, Inc. may be served with process through its registered agent,

 Christopher Doyle, 3232 Palmer Hwy., Texas City, Texas 77690.

       56.   Texas Independent Bancshares, Inc. is a member of Visa and

 MasterCard. Between 2000 and 2006 it was represented on the Visa U.S.A. Board

 of Directors. It is currently represented on the Board of Directors of Visa, Inc. It

 has had actual knowledge of, and has knowingly participated in, the conspiracies

 alleged in this Complaint.

       57.   Defendants Wells Fargo & Company and Wells Fargo Merchant

 Services, LLC (“Wells Fargo”) have their principal place of business in San

 Francisco, California. The Wells Fargo defendants may be served with process

 through its registered agent, Corporation Services Company at 211 E. 7th Street,

 Suite 620, Austin, Texas 78701.

       58.   Wells Fargo is a member of both Visa and MasterCard. During parts

 of the relevant time period, it was represented on the Visa U.S.A. Board of

 Directors. It is an Issuing Bank that issues general purpose payment cards to

 individuals and businesses. Through its “Wells Fargo Merchant Services” division,

 it is an Acquiring Bank that provides card-acceptance services to merchants. It has

 had actual knowledge of, and has knowingly participated in, the conspiracies

 alleged in this Complaint.




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       59.    Wachovia Bank, N.A. was a North Carolina corporation with its

 principal place of business in Charlotte, North Carolina. It was a subsidiary of

 Wachovia Corporation, a North Carolina corporation with its principal place of

 business in Charlotte, North Carolina. Wachovia Bank, N.A. and Wachovia

 Corporation are collectively referred to herein as “Wachovia.”

       60.    Wachovia was a member of both Visa and MasterCard. Between 2002

 and 2006, it was represented on the Visa U.S.A. Board of Directors. It was an

 Issuing Bank that issued Payment Cards to individuals and businesses. It was also

 an Acquiring Bank that provided card acceptance services to merchants. It had

 actual knowledge of, and knowingly participated in, the conspiracies alleged in this

 Complaint.

       61.    Wells Fargo has acquired Wachovia’s assets and liabilities, including

 its payment-card operations and associated liabilities, through a stock-for-stock

 transaction, has become Wachovia’s parent corporation and has assumed all of

 Wachovia’s liabilities relating to this action.

       62.    The Bank Defendants were or are actual or potential competitors for

 the issuance of credit cards and acquisition of merchants. All of the Bank

 Defendants belonged to both networks and have conspired with each other and

 with Visa and MasterCard to fix the level of interchange fees that they charge to

 merchants.


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       63.    Many of the Bank Defendants are, or were during the relevant period,

 represented on the Visa and/or MasterCard Boards of Directors at the times when

 those Boards collectively fixed uniform interchange fees and imposed the

 Competitive Restraints, tying and bundling arrangements, and exclusive-dealing

 requirements on merchants including Plaintiff. The Bank Defendants delegated to

 the Visa and MasterCard Boards of Directors the authority to take those actions.

 Each of the Bank Defendants had actual knowledge of, participated in, and

 consciously committed itself to the conspiracies alleged herein.

       64.    Before Visa’s IPO, Section 5.01(a) of the Bylaws of Visa U.S.A.

 (May 15, 2004) limited seats on its Board of Directors to (i) “officers of [Visa

 U.S.A.],” (ii) “officers of Charter Members [with some exceptions]...having at

 least the equivalent rank of Chief Executive Officer or Chief Administrative

 Officer, or [for larger Member Banks] a person who in their performance of his

 regular duties reports to such an officer.” Individuals who “previously held the title

 of Chairman, Vice Chairman, or Chief Executive Officer of a Charter Member

 were allowed to hold the post of “Second Special Director At Large” or “Third

 Special Director At Large for Technology,” provided that the latter was “well

 qualified in systems and technology issues of importance to [Visa U.S.A.’s]

 Payment Services.” Even after the IPO, representatives of member banks maintain

 substantial representation on the Board of Visa, Inc.


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       65.    Similarly, prior to MasterCard's IPO, Article IV-1 of its Bylaws

 required that each Director “be an officer of a member institution of MasterCard

 International Incorporated or an individual otherwise uniquely qualified to provide

 guidance as to the Corporation’s affairs.” Even after the IPO, the member banks

 retain substantial representation on Board of New MasterCard.

       66.    Bank Defendants are therefore directly responsible for collectively

 fixing interchange fees within each network and between the two networks. Bank

 Defendants, acting by and through the Boards of Directors of Visa and

 MasterCard, are also directly responsible for the tying and bundling of separate and

 distinct services together in those interchange fees, the imposition of the

 Competitive Restraints and engaging in the other anticompetitive conduct alleged

 herein. Collectively, the Bank Defendants, through their operation of Visa and

 MasterCard, adopted and approved the above-mentioned policies and have

 significantly profited from those policies.

       67.    Even after the corporate restructuring of the Visa and MasterCard

 networks, the banks continue to conspire to fix interchange fees. Each of the Bank

 Defendants has agreed that Visa and MasterCard may apply uniform schedules of

 default interchange fees to their payment card businesses.




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                               CO-CONSPIRATORS

       68.   The United States Court of Appeals for the Second Circuit has noted

 that Visa and MasterCard “are not single entities; they are consortiums of

 competitors.” Before the corporate restructuring described below, they were

 “owned and effectively operated by over 22,000 banks, which compete with one

 another in the issuance of Payment Cards and the acquiring of Merchants’

 transactions.” United States v. Visa, 344 F.3d 229, 242 (2d Cir. 2003). Because of

 the judgment in that case, among other things, Visa and MasterCard and their

 member banks were exposed as “structural conspiracies” and “walking

 conspiracies.”

                          JURISDICTION AND VENUE

       69.   This Court has subject matter jurisdiction over the Defendants in this

 case. The amount in controversy substantially exceeds the jurisdictional

 requirements of this Court.

       70.   This Court has personal jurisdiction over Defendants because, inter

 alia, they have: (a) systematically transacted business throughout this County and

 State for years; (b) committed torts in the State of Texas and purposely availed

 themselves of the benefits of Texas law; (c) engaged in an illegal anticompetitive

 scheme that was directed at and had the intended effect of causing injury to

 Plaintiff which is located in and does business throughout this State, including in


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 this County; and (d) and at least one Defendant maintains its principal place of

 business in this State.

       71.    Venue is proper in Harris County, Texas, because this is where a

 substantial part of the events or omissions giving rise to the claims occurred. See

 TEX. CIV. PRAC. & REM. C. §15.002. A substantial part of the activities, events,

 and damages at issue occurred here. The acts complained of have had, and will

 have, substantial anticompetitive effects in this County. Also see TEX. BUS. &

 COM. C. §15.21(a)(1).

                                      FACTS

       72.    Before the Visa and MasterCard IPOs in 2006 and 2008, respectively,

 the Bank Defendants, acting as members of Visa by and through the Visa Board of

 Directors, fixed uniform interchange fees for various merchants and transactions

 for all Visa credit card and debit card transactions that they agreed to impose upon

 merchants and their customers.

       73.    The Bank Defendants, acting by and through the Board of Directors of

 MasterCard, then set similar uniform interchange fees for various merchants and

 transactions for all MasterCard credit card and debit card transactions that they

 agreed to impose upon merchants and their customers.

       74.    The Bank Defendants also jointly set interchange fees in both Visa

 and MasterCard networks to ensure that the interchange fees of Visa and


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 MasterCard increased in parallel and stair-step fashion, rather than decreasing in

 response to competition from each other.

       75.    MasterCard and Visa each changed their ownership structures through

 initial public offerings wherein the member banks partially divested their

 ownership of Visa and MasterCard. But the IPOs did not change the essential

 character of their combinations or the Competitive Restraints. The motivation for

 these IPOs was to limit the appearance that Visa and MasterCard were controlled

 by their member banks. According to the prospectus for MasterCard’s 2006 IPO,

 “heightened regulatory scrutiny and legal challenges” underlay the decision to

 make changes in the ownership structure of MasterCard. In particular, MasterCard

 stated that “many of the legal and regulatory challenges we face are in part directed

 at our current ownership and governance structure in which our customers — or

 member financial institutions — own all of our common stock and are involved in

 our governance by having representatives serve on our global and regional boards

 of directors.”

       76.    Each Bank Defendant (and all Visa and MasterCard owner/member

 banks) knew that all other Visa and MasterCard banks were also delegating their

 pricing decisions to Visa and MasterCard, which arrangement was ratified by a

 horizontal agreement of Visa’s and MasterCard’s owner/member banks when they

 voted to approve Visa’s and MasterCard’s IPO restructurings on these bases on the


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 express condition that the rules that form the core of the conspiracy remain in

 effect for all issuing banks and acquiring banks in the Visa and MasterCard

 systems. This was a conscious commitment to an ongoing common scheme by

 horizontal competitors and, as such, is a continuing violation of the Texas Free

 Enterprise Act. It maintained the anti-competitive, pre-IPO status quo: Visa and

 MasterCard continue to set interchange fees for thousands of competing banks that,

 but for these conspiracies, would have independently competed for merchant

 acceptance of their payment cards.

       77.      After the IPOs, neither Visa, MasterCard, nor any of the member

 banks, including the Bank Defendants, took any affirmative action to withdraw

 from the respective combinations. To the contrary, even after the IPOs, the

 member banks of Visa and MasterCard continued to agree to, enforce and adhere

 to the Competitive Restraints that eliminate competition among issuing banks for

 merchant acceptance.

       78.      Bank documents show that the IPOs perpetuated the conspiracies—

 which continue uninterrupted to this day. Visa CEO Charles Scharf conceded as

 much when, five years after Visa’s IPO, he characterized Visa’s rules as having

 “stood in the way of [Issuers and Acquirers] working together to do something

 positive for the merchant.” MasterCard’s rules also barred such positive

 competition.


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       79.    The IPOs actually increased the effectiveness of Defendants’ price-

 fixing conspiracies as well as Visa’s and MasterCard’s substantial market power

 by consolidating decision-making and coordinating communications among the

 conspirators. Visa’s and MasterCard’s economists opined in 1993—well before

 these IPOs were being considered—that “[t]here would be far less competition in

 this industry if Visa and MasterCard had chosen to operate as single companies.”

 David S. Evans and Richard L. Schmalensee, The Economics of the Payment Card

 Industry, at 103 (1993).

       80.    After the IPOs, as before, Visa and MasterCard serve as facilitators

 and coordinators of horizontal agreements among their member banks to continue

 to adhere to and enforce “default” interchange fees and the Competitive Restraints.

 The Bank Defendants and other member banks continue to act as information

 conduits for the sharing of pricing and other competitive information between the

 Visa and MasterCard networks, thereby ensuring that the networks’ interchange

 fees continue to increase in parallel and stair-step fashion. It would be contrary to

 the independent self-interest of any single issuing bank to adhere to the

 Competitive Restraints without the agreement of the remaining issuing banks also

 to impose and adhere to those restraints. Visa and MasterCard, by acting as the

 managers of their respective combinations and coordinating agreements to

 continue imposing and adhering to the Competitive Restraints, eliminate


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 competition for merchant acceptance among their respective issuing banks. But for

 the arrangements facilitated by Visa and MasterCard and the agreement by the

 Bank Defendants to those arrangements, the member banks would pursue their

 own independent self-interest by competing for merchant acceptance of the cards

 they issue.

       81.     However, the member banks do not compete for merchant acceptance

 of the cards they issue. Instead, both before and after the Visa and MasterCard

 IPOs, the member banks have ceded to Visa and MasterCard decision-making and

 action with respect to the terms upon which they will allow merchants to accept the

 cards they issue. By continuing to agree to and adhere to the Competitive

 Restraints and default interchange fees, the member banks, including the Bank

 Defendants, have deprived the marketplace of independent centers of decision-

 making and, therefore, of actual or potential competition.

 A.    Antitrust Market Definition

       82.     The relevant product markets are (1) the market for merchant

 acceptance of credit cards and (2) the market for merchant acceptance of debit

 cards. Credit cards and debit cards are not reasonably interchangeable with each

 other or with other forms of tender. These markets are each part of two-sided

 platforms that involve (a) merchant acceptance of payment cards and (b) banks

 issuing payment cards and gaining depository accounts. The market for merchant


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 acceptance of credit cards and the market for merchant acceptance of debit cards

 are in themselves relevant markets even if the effects from the other side of the

 platforms (competition for issuing payment cards and gain depository accounts)

 are considered.

       83.   Banks compete with one another to issue their cards to consumers

 who use those cards to purchase goods and services from merchants. But, like in

 the relevant markets for merchant acceptance of credit cards and merchant

 acceptance of debit cards, competition for issuing payment cards to consumers is

 constrained by the Competitive Restraints and supracompetitive interchange fees.

 Absent the Competitive Restraints, banks issuing such cards would compete over

 the terms of acceptance of their cards by merchants to get merchants to accept their

 cards as payment for the goods and services the merchants sell to consumers and

 thus enhance the value of these cards to cardholders, reduce cost of purchases, and

 increase innovation. Therefore, anticompetitive effects exist on both sides of the

 two-sided platform.

       84.   A credit card is not interchangeable with a debit card or other form of

 tender, so merchant acceptance of credit cards and merchant acceptance of debit

 cards are separate relevant markets. Credit cards give cardholders the ability to

 access a line of credit, defer payment, and other features that are not available

 through debit cards or other forms of tender. For this reason, Plaintiff and other


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 merchants cannot discontinue acceptance of credit cards without losing sales, even

 in the face of high or increasing interchange fees. Visa and MasterCard and their

 credit card issuing members are not constrained in the charges they impose for

 merchant acceptance of credit cards by the availability of debit cards and other

 forms of tender as payment options. Debit cards are also regulated separately and

 differently from credit cards. In 2011, pursuant to the Durbin Amendment, the

 Federal Reserve Board imposed a maximum level for debit card interchange fees

 charged by large banks. The legislation did not mandate that the Federal Reserve

 Board regulate interchange fees charged in connection with credit card

 transactions.

       85.       Likewise, in the market for merchant acceptance of debit cards, a

 debit card is not interchangeable with a credit card or other form of tender. Debit

 cards must be tied to a bank account, or be pre-paid, unlike credit cards. When a

 debit card is used, the funds are withdrawn from the cardholder’s account either

 the same day or within a few days. Consumers who desire to pay for a transaction

 with immediately available funds may not want to carry large amounts of cash or

 checks on their person, and not all merchants accept checks. Consumers who

 cannot qualify for credit cards or have reached the credit limit on their credit cards

 may also prefer the use of debit cards to other options. Because credit cards are not

 a substitute for debit cards on the cardholder side of this platform, Plaintiff and


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 other merchants cannot discontinue acceptance of debit cards, or substitute credit

 card acceptance for debit card acceptance without losing sales, even in the face of

 high or increasing interchange fees. Visa and MasterCard and their debit card

 issuing members are not constrained in the charges they impose for merchant

 acceptance of debit cards by the availability of credit cards or other forms of

 tender.

          86.   Even though merchant acceptance of credit cards and debit cards is

 one side of a two-sided platform involving cardholders in payment transactions,

 the relevant markets here should not include the separate markets for issuing credit

 cards and debit cards to consumers. As explained supra, Visa and MasterCard

 operate as a 5-party payment card system, involving as many as 5 distinct entities

 (cardholder, issuer, networks, acquirer, and merchant), and have imposed

 horizontal restraints in the form of collusively set interchange fees. Visa and

 MasterCard do not operate to set prices based on upon considerations of merchant

 and cardholder demand. Rather, they facilitate and impose Competitive Restraints

 that prevent member banks from competing for merchant acceptance of payment

 cards.     In this context, the Defendants’ Competitive Restraints and default

 interchange fees are not necessary to maintain cardholder satisfaction and use.

 Visa and MasterCard member issuing banks are able to fund, and would fund,

 rewards to cardholders from interest charged on cardholder account balances and


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 fees, which account for the vast majority of the issuing banks’ payment card

 revenues.2

        87.    The relevant markets for merchant acceptance of credit cards and

 merchant acceptance of debit cards in the subject 5-party system with horizontal

 restraints are readily distinguished from the relevant market in a 3-party payment

 card system, for example, that involves a single entity acting as issuer, network,

 and acquirer with vertical price restraints such as rules imposed by American

 Express.

        88.    However, depending on the facts presented at trial, because merchant

 acceptance and cardholder issuance occur across a two-sided platform involving

 merchants and cardholders, the relevant markets in this case may, in the

 alternative, be (1) the market for merchant acceptance and cardholder issuance of

 credit cards and (2) the market for merchant acceptance and cardholder issuance of

 debit cards. Still, separate markets for credit cards and debit cards are warranted.

 For both merchants and cardholders, credit cards and debit cards are not reasonably

 interchangeable with each other or with other forms of tender. And merchants

 cannot discontinue accepting either credit or debit cards, or substitute one for the


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   As much as 90% of issuing bank revenue on card portfolios comes from interest on revolving
 balances and fees such as annual fees, over limit fees, late fees, bad check fees, cash advance
 transaction fees, foreign exchange fees, and fees for optional protection programs such as
 insurance. Issuing banks could use these significant sources of revenue to fund cardholder
 rewards, even with reduced or no interchange fee income.

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 other, without losing sales even in the face of high and increasing interchange fees.

 Visa and MasterCard and their payment card issuing banks are not constrained in

 the charges they impose for merchant acceptance of credit cards or debit cards by

 the availability of those alternative payment options or other forms of tender.

       89.     The relevant geographic market is the United States and its territories.

 B.    The Competitive Restraints

       90.     On behalf of, and in agreement with, member banks and Bank

 Defendants,    Visa    and    MasterCard        each   have   adopted   and   imposed

 supracompetitive “default” interchange fees and other Competitive Restraints on

 Plaintiff that eliminate competition. These Competitive Restraints prevent

 competition among the issuing banks for transaction volume from merchants. As a

 result, the Competitive Restraints cause Plaintiff’s costs of acceptance to be higher

 than would prevail in a competitive market. The Competitive Restraints have also

 restrained issuing banks from competing for cardholders by offering benefits at the

 point of sale. Cardholders will not realize key benefits until both horizontal cartels

 at Visa and MasterCard are finally eliminated. Until then, cardholders will

 continue to get less choice, less quality, and pay higher prices. While competition

 would have motivated rival issuing banks to charge lower fees than the default

 interchange fees in order to differentiate themselves for cardholders through

 bilateral arrangements with merchants, they have never done so because the


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 Competitive Restraints eliminated any incentive for issuing banks to charge fees

 below the anticompetitively high levels being fixed by the conspiracies.

        91.    In order to identify any cartel members “cheating” by secretly offering

 lower interchange fees, Visa and MasterCard monitors each transaction to ensure

 application of the appropriate interchange fee. At the same time, since at least

 2004, Visa’s and MasterCard’s rules required all Issuers and Acquirers to adhere to

 all network rules. 3 Owner/member banks that violated any of these network rules

 were subject to fines and even expulsion from Visa and MasterCard, and, by rule,

 the Networks could not be held liable by these banks.4 This enabled Visa and

 MasterCard to monitor compliance with, and enforce, the rules of their respective

 cartels. These rules remain in place to this day. 5



 3See, e.g., Visa Rule 1.2.A (Member Responsibilities), Visa U.S.A. Inc. Operating Regulations,
 Volume 1—General Rules (Nov. 15, 2008); MasterCard Rule 1.5.5 (Member Responsibilities),
 MasterCard Rules (Oct. 2008).

 4 See, e.g., Visa Rule 1.7 (Regulation Enforcement), Visa U.S.A. Inc. Operating Regulations,
 Volume 1—General Rules (Nov. 15, 2008); Visa Core Principles Ch. 1 (Visa Operating
 Regulations Governance) and 2.3 (General Liabilities and Indemnifications), Visa International
 Operating Regulations (Oct. 15, 2010); MasterCard Rules 3.1 (Standards), 3.1.2 (Failure to
 Comply with a Standard), and 3.3 (Indemnity and Limitation of Liability), MasterCard Rules
 (Oct. 2008).

 5 See, e.g., Visa Rules 1.1.1.1 (Applicability of Rules), 1.1.1.10 (Visa U.S.A., Inc. Member
 Responsibilities – US Region), 1.1.9 (Liabilities and Indemnifications) and 1.12.3 (Non-
 Compliance Assessments), Visa Core Rules and Visa Product and Service Rules (Apr. 16, 2016);
 MasterCard Rules 2.1 (Standards), 2.1.2 (Failure to Comply with a Standard), 2.2 (Conduct of
 Activity and Digital Activity), 2.2.1 (Customer Responsibilities), and 2.3 (Indemnity and
 Limitation of Liability), Ch. 2—Standards and Conduct of Activity and Digital Activity,
 MasterCard Rules (July 7, 2016).

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        92.    Collective Setting of Interchange: Prior to the IPOs, Bank Defendants,

 acting through the Visa and MasterCard Boards of Directors, collectively adopted

 and enforced rules that require the payment of an interchange fee, set at Visa and

 MasterCard’s uniform levels, for all transactions on the respective networks. While

 there were different fees within a given default interchange fee schedule, every

 Issuer applied the same fee schedule to a given transaction. It is this collusion by

 every Issuer to set identical default interchange fee schedules that constitutes price

 fixing. Even after the IPOs, the Bank Defendants agree to abide by these rules.

        93.    Absent the Competitive Restraints, Plaintiff would pay interchange

 fees for acceptance, if at all, as determined by competition among issuing banks,

 including the Bank Defendants, for merchant acceptance. But in the cartelized

 markets created by the Visa and MasterCard combinations, Visa and MasterCard,

 acting with and for the Bank Defendants and other member banks, establish

 interchange fee schedules for their member banks.6 Plaintiff has been, and

 continues to be, injured by this collective setting of interchange fees by Visa,

 MasterCard, and the Bank Defendants.




 6 See, e.g., Visa Rule 9.5 (Interchange Reimbursement Fees), Visa U.S.A. Inc. Operating
 Regulations, Volume 1— General Rules (Nov. 15, 2008); Visa Rule 9.1.1.3 (Visa Determines
 and Publishes IRF), Visa Core Rules and Visa Product and Service Rules (Apr. 16, 2016);
 MasterCard Rule 9.4 (Interchange and Service Fees), MasterCard Rules (Oct. 2008); MasterCard
 Rule 8.3 (Interchange and Service Fees), Ch. 8—Settlement and Related Obligations,
 MasterCard Rules (July 7, 2016).
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       94.    Honor All Cards Rules: These rules require in relevant part that a

 merchant that accepts any Visa-branded or MasterCard-branded credit card must

 accept all Visa-branded or MasterCard-branded credit cards, no matter which bank

 issued the card or the card type. Similarly, a merchant that accepts Visa-branded or

 MasterCard-branded debit cards, must accept all Visa-branded or MasterCard-

 branded debit cards, no matter the issuing bank. Because of the Honor All Cards

 Rules, Plaintiff cannot reject any or all of the types of cards issued by any

 particular issuing bank. Thus, Plaintiff is precluded from gaining the benefits of

 competition as to the terms upon which they will accept or reject the cards of any

 issuing bank that is a member of Visa or MasterCard. As a result, the “default”

 interchange fees become binding on Plaintiff.

       95.    By barring merchants from steering customers to a less expensive

 Issuer, Issuers need not worry about losing business to a lower-cost competitor

 because all cards issued by every Issuer must be accepted at the default interchange

 fee rates. Thus, a merchant that must accept a Visa Signature Preferred Card

 transaction, which may bear an interchange fee ranging from 2.10% to 2.95% (plus

 $0.10), cannot attempt to steer consumers to cheaper payment cards or even to

 cheaper Visa (or MasterCard) standard credit cards, for which the merchant would

 pay substantially lower, but still supracompetitive, interchange fees. Because of the

 Honor All Cards rules and related Competitive Restraints, Issuers have no


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 incentive to enter into bilateral agreements outside the conspiracy; i.e., Issuers are

 incentivized not to “cheat” on the price-fixing scheme. Thus, the default

 interchange fees have become a price floor.

        96.    By enacting and enforcing the Honor All Cards Rules and interchange

 fee payment rules noted above, the Defendants have created a situation in which

 the payment of an interchange fee is required on all transactions, regardless of the

 issuing bank. Because of this problem – a problem entirely of Defendants’ own

 creation – Defendants have claimed that uniform schedules of default interchange

 fees actually benefit merchants by preventing the issuing bank from “holding up”

 the merchant by demanding an interchange fee that is as high as the Issuer would

 like, knowing that the Honor All Cards Rules prevent the merchant from refusing

 that transaction.7

        97.    This “hold-up” problem is the result of the Bank Defendants’

 anticompetitive agreements not to compete for merchant acceptance such as the


 7 Also See, e.g., Visa Rule 5.2.B (Honoring Cards), Visa U.S.A. Inc. Operating Regulations,
 Volume 1—General Rules (Nov. 15, 2008); Visa Rule 1.5.4.5 (Honor All Cards – US Region),
 Visa Core Rules and Visa Product and Service Rules (Apr. 16, 2016); MasterCard Rules 5.6.1
 (Honor All Cards) and 11.5C.2 (U.S. Region Variances to Global Rules) (including 11.5C.2.2
 (Honor All Debit MasterCard Cards) and 11.5C.2.3 (Honor All Other MasterCard Cards)),
 MasterCard Rules (Oct. 2008); MasterCard Rule 5.10.1 (Honor All Cards), Ch. 15—United
 States Region, MasterCard Rules (July 7, 2016). Visa’s Operating Regulation 5.2.B.3.a. requires
 merchants that accept Visa payment cards to accept all Visa cards within the “categories of
 acceptance” that it accepts, regardless of the identity of the issuing bank or the level of
 interchange fee it charges. Similarly, Rule 9.1 of MasterCard’s Bylaws and Rules requires
 merchants that accept MasterCard-branded Payment Cards to “honor all valid MasterCard cards
 without discrimination when properly presented for payment.”


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 Honor All Cards rules. Attempting to justify interchange fee price fixing on the

 grounds that it addresses the problems of an agreement not to compete, as

 Defendants have sought to do, is perverse. Price fixing in tandem with an

 agreement not to compete is not a justification for anticompetitive conduct. It is

 anticompetitive conduct.

       98.   Moreover,      these   schemes   create   a   staggering   amount   of

 anticompetitive harm. Even if the elimination of this additional anticompetitive

 “hold-up” problem (an anticompetitive problem created by the schemes

 themselves) was credited as a procompetitive benefit—which it should not be—

 any such “benefit” would be far exceeded by the remaining anticompetitive harm

 resulting from those schemes that is detailed throughout this Complaint. Such harm

 includes higher fees to merchants, and higher prices and a loss of choice and

 innovation for cardholders.

       99.   Visa and MasterCard have also argued that the Honor All Cards rules

 are necessary for their networks to function because, without them, universal

 acceptance of their credit and debit cards cannot be assured. Visa’s and

 MasterCard’s conduct reveals the pretextual nature of that justification. Visa and

 MasterCard have permitted numerous products that function at only a subset of the

 locations that accept Visa and MasterCard credit and debit cards, and the

 introduction and proliferation of those products have not harmed the operation of


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 their networks. These include selective acceptance (or selective-authorization)

 cards, which can be used only at certain merchant locations, even though they bear

 the Visa or MasterCard logos that supposedly connote universal acceptance of all

 the Visa or MasterCard brand’s cards. Other examples include the increasingly

 prominent flexible-spending-account cards and health-reimbursement-account

 cards, among others.

       100. More importantly, Visa and Chase recently entered into an

 arrangement that gave Chase the ability to differentiate Chase-branded Visa credit

 and debit cards from other Visa credit and debit cards via bilateral agreements with

 certain merchants (“ChaseNet”). ChaseNet was designed to preserve the

 conspiracy while accommodating, to a limited degree, Chase’s desire to compete

 for cardholders by differentiating its products from other Visa (and MasterCard)

 Issuers. The ChaseNet agreement preserved the two linchpins of the horizontal

 conspiracy—the Honor All Cards and default interchange fee rules—while also

 preserving the prohibition against surcharging by Issuer. This material (albeit

 highly limited) deviation from the Honor All Cards rules reinforces the conclusion

 that such rules are not necessary for a general purpose payment card network to

 function. Moreover, even if the Honor All Cards rules have some legitimate

 rationale, those objectives could be realized through less restrictive means.




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        101. In addition, in early 2013, during the time frame Visa was negotiating

 ChaseNet, Visa began allowing discounting by Issuer at the point of sale.8 This

 represented a material departure from Visa’s previous rules, which prohibited

 effective differentiation by Issuer at the point of sale or point of interaction, by

 discounting or otherwise. MasterCard continues to prohibit discounting by Issuer at

 the point of sale. 9 Visa’s rule change further shows that the various rules, including

 the Honor All Cards rules, barring differentiation at the point of sale by Issuer

 cannot be justified. Those rules include the prohibition against surcharging by

 Issuer, which both Visa and MasterCard maintain to this day. Until Visa and

 MasterCard repeal all the rules that bar Issuers from competing for cardholders

 through direct agreements with merchants—including the Honor All Cards rules

 and all rules that bar Issuer differentiation at the point of sale—and repeal the




 8 See, e.g., Visa Rule ID#: 150413-010213-0027555 (Discounts, Offers, or In-Kind Incentives
 (New)), Visa International Operating Regulations (Apr. 15, 2013), Ch. 6—Payment
 Acceptance—Honoring Cards—Discount atthe Point of Sale (“Effective 1 February 2013, except
 where prohibited by applicable laws or regulations, a Merchant may provide Cardholders with a
 discount, promotional offer, or in-kind incentive at the point-of-sale that is not available for other
 Visa Cards.”); see also Visa Rules 1.5.4.11 (Uniform Services – Acquirer Requirements
 (Updated)), 1.5.4.12 (Uniform Services – Merchant Requirement), 1.5.4.13 (Discount Offer –
 US Region and US Territories), 3.1.1.2 (Affinity/Co-Brand Program Positioning and
 Advertising), 4.1.1.1 (Visa Card Product and Token Positioning (Updated)), 4.1.1.3 (Non-
 Standard Card Prohibitions), 4.1.1.4 (Positioning, Acceptance, and Accounts – US Region),
 5.4.1.2 (Uniform Services Merchant Requirement – US Region), Visa Core Rules and Visa
 Product and Service Rules (Apr. 16, 2016).

 9See, e.g., MasterCard Rule 5.11.1 (Discrimination), Ch. 16—Additional U.S. Region and U.S.
 Territory Rules, MasterCard Rules (July 7, 2016).
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 default interchange fee rules, merchants will continue to pay supracompetitive

 interchange fees, including for Chase transactions.

       102. On an investor call in May 2013, during which ChaseNet was

 discussed, Visa CEO Charles Scharf admitted that Visa’s rules had barred Issuers

 from competing for merchant acceptance. When asked about Visa’s arrangement

 with Chase, Mr. Scharf stated: “The reality is I think if you go around and talk to

 most issuers, they would probably say that there wasn’t a lot of conversation that

 went on between the issuing and acquiring [i.e., merchant] side, partially because

 of our rules that stood in the way of them working together to do something

 positive for the merchant.” Visa Inc. Q2 2013 Earnings Call Transcript, FactSet

 CallStreet (May 1, 2013), at 16 (emphasis added). Those rules (with the exception

 of the rules now allowing discounting by Issuer at the point of sale, in the case of

 Visa) continue to stand in the way of banks “working together to do something

 positive” for merchants.

       103. Those rules have also stood in the way of Issuers doing “something

 positive” for cardholders. Even though Chase continues to participate in the

 conspiracy, its internal documents highlight the many ways cardholders would

 have benefitted if Issuers had been permitted to truly compete for merchants and

 cardholders through agreements that permitted differentiation at the point of sale.




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       104. All Outlets Rules: The All Outlets Rules require merchants who

 accept Visa-branded or MasterCard-branded payment cards to accept those cards at

 all of their merchant locations. A merchant is not permitted to accept the cards at

 some stores but not others. These rules preclude merchants from gaining the

 benefits of competition as to the terms of acceptance by location.

       105. Prior to January 27, 2013, the All Outlets Rules required merchants

 that operated under multiple banners (e.g., trade names or name plates) and that

 accepted Visa-branded or MasterCard-branded payment cards to accept those cards

 at all of their banners. This rule precluded merchants from gaining the benefits of

 competition as to the terms of acceptance with issuing banks by banner or by

 locations within a banner. As a result, Plaintiff could not indicate it would

 terminate acceptance of the cards of a particular issuing bank at some of their

 banners in order to promote competition as to fees.

       106. Changes that Visa and MasterCard made to their All Outlets Rules

 implemented after January 27, 2013, do not diminish the anticompetitive effects or

 the injuries Plaintiff continues to suffer. The All Outlets Rules still require that if a

 merchant elects to accept Visa-branded or MasterCard-branded cards at one of its

 banners, it must accept all such cards at all locations of that banner, and it must

 accept all such cards no matter the card issuer. Merchants also cannot accept the

 cards of some issuers but not others at a particular location.


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       107. No Discount Rules: Under the No Discount Rules, merchants were

 only allowed to offer discounts to customers who paid in cash, rather than using a

 payment card. However, pursuant to a settlement with the United States

 Department of Justice, as of July 20, 2011, Visa and MasterCard changed their

 rules to allow merchants to offer discounts to consumers in some limited

 circumstances. These changes to the No Discount Rules have not significantly

 diminished the anticompetitive effects of the Competitive Restraints. While Visa

 and MasterCard now allow merchants more discounting options, merchants still

 are prohibited from offering discounts to consumers for using the cards issued by

 particular issuing banks. A merchant’s ability to utilize issuer-specific discounts

 would be an important tool for gaining the benefits of competition as to the terms

 of acceptance with an issuing bank.

       108. No Surcharge Rules: The No Surcharge Rules prohibit Plaintiff from

 surcharging transactions in which a consumer used a Visa-branded card or a

 MasterCard-branded card. These rules eliminate a merchant’s ability to utilize

 surcharging as a tool in gaining the benefits of competition as to the terms of

 acceptance with an issuing bank. Absent the rules, a merchant could surcharge a

 transaction in which the consumer uses the card of a particular issuing bank, such

 as one that demanded a high interchange fee. As of January 27, 2013, Visa and

 MasterCard altered their No Surcharge Rules to permit merchants to surcharge


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 credit card customers under limited circumstances. Debit card transactions still

 may not be surcharged under the rule modification. Changes to the No Surcharge

 Rules for credit cards implemented after January 27, 2013 do not eliminate their

 anticompetitive effects or the injuries Plaintiff continues to suffer.

       109. Under Visa’s and MasterCard’s now-current anti-surcharging rules,

 merchants accepting American Express credit cards must limit their surcharging of

 Visa/MasterCard credit cards to the same terms that American Express limits

 surcharging of American Express credit cards. American Express prohibits

 surcharging its credit cards unless all payment cards, including debit cards, are also

 equally surcharged, but Visa and MasterCard do not permit debit card surcharges.

 To avoid this effective bar against surcharging, a merchant must stop accepting

 American Express credit cards, an outcome that would only reinforce Visa’s and

 MasterCard’s substantial market power. This Catch-22 effectively prohibits credit

 card surcharging by merchants that accept American Express: 90% of merchants

 by U.S. credit card volume. Moreover, the remaining 10% of merchants that

 theoretically could surcharge are unlikely to do so, because they will risk losing

 sales to competing merchants that accept American Express and therefore cannot




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 surcharge. Moreover, even as modified, the No Surcharge Rules prohibit a

 merchant from surcharging based on the identity of the card issuer.10

        110. Visa and MasterCard Duality: Since 1976, Visa’s and MasterCard’s

 rules have permitted banks to be members of both Visa and MasterCard and issue

 both brands of credit cards. This is referred to as “Issuance Duality.” Banks could

 also “acquire” transactions from merchants for both Visa and MasterCard. This is

 referred to as “Acquiring Duality.” Every major bank in the United States is a

 member of both Visa and MasterCard, and thus has the right to issue payment

 cards and acquire merchants for both the Visa and MasterCard networks. The U.S.

 memberships of Visa and MasterCard are virtually identical. Furthermore, virtually

 every merchant that accepts Visa payment cards as a form of payment also accepts

 MasterCard payment cards.

        111. Very few exceptions to Duality exist among the thousands of financial

 institutions that issue Visa and/or MasterCard Credit Cards and the financial

 institutions that acquire retail stores for Visa and/or MasterCard. Each of the Bank

 Defendants is a member of both networks.

 10 See, e.g., Visa Rule 1.5.5.2 (Surcharges), Visa Core Rules and Visa Product and Service Rules
 (Apr. 16, 2016); MasterCard Rule 5.11.2 (Charges to Cardholders), Chs. 5—Acquiring and 16—
 Additional U.S. Region and U.S. Territory Rules, MasterCard Rules (July 7, 2016); Visa Rule
 5.6.1 (Surcharges – Allowances, Requirements, Restrictions, Amounts, and Disclosures)
 (including Visa Rules 5.6.1.1–5.6.1.5), Visa Core Rules and Visa Product and Service Rules
 (Apr. 16, 2016); MasterCard Rule 5.11.2 (Charges to Cardholders), Ch. 16—Additional U.S.
 Region and U.S. Territory Rules, MasterCard Rules (July 7, 2016).


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       112. Although Visa’s rules prohibit banks from issuing both Visa and

 MasterCard offline debit cards, virtually all Visa check card-issuing banks are

 members of MasterCard and virtually all MasterCard debit-issuing banks are

 members of Visa. Therefore, many of the debit card operations of the networks are

 transparent to the competing network, and the debit card issuing banks of the Visa

 and MasterCard networks have a profit motive to restrain inter-network

 competition that might result in lower interchange fees.

       113. Visa and MasterCard member banks have historically exerted control

 over the operations of the competing Visa and MasterCard networks by

 simultaneously participating on the Boards of Directors and other important

 committees of the two networks. For example, MasterCard’s Business Committee

 and Visa’s Marketing Advisors Committee advise their respective network’s

 professional staff and management on key strategic and competitive issues. In

 1996, 12 of the 21 banks represented on Visa’s Board of Directors were also

 represented on MasterCard’s Business Committee, and 17 of the 27 banks on

 MasterCard’s Business Committee had representatives on Visa’s Marketing

 Advisors Committee. Seven of the 22 banks represented on MasterCard’s Board of

 Directors also were represented on Visa’s Marketing Advisors Committee.




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          114. As of year-end 1996, approximately 19 banks had a representative on

 both the Board of Directors of one network and at least one important committee

 of the other network.

          115. Most of the Bank Defendants have one or more employees tasked

 with being the bank’s liaison to the networks. Oftentimes, the same employee or

 employees act as liaisons to both networks.

          116. Visa, MasterCard, and the Bank Defendants abuse the structure of

 duality to pass sensitive information between the two networks, which helps

 guarantee that the networks’ interchange fees continue to increase in parallel and

 stairstep fashion.

          117. The member banks’ participation in the governance and operations of

 the competing networks has continued into the relevant time period in this lawsuit.

 For example, in 2006, five of the eight bank representatives on the Visa U.S.A.

 Board sat on a MasterCard advisory board or council. In addition, five out of 13

 banks that were represented on the U.S. Board of Directors of MasterCard had a

 representative on at least one of Visa U.S.A.'s executive

 councils. The situation of Defendant Chase illustrates the influence of a given

 member bank over the affairs of both networks. In 2006, Chase sat on seven

 advisory boards of MasterCard at the same time as it was represented on Visa’s

 board.


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       118. The advisory boards, in which Chase employees participated, or in

 which “open” seats were available to Chase, related to important aspects of

 MasterCard’s business and included the following: U.S. Business Committee,

 Commercial Card Business Committee, Acquiring Committee, Debit Advisory

 Committee, Legal Advisory Committee, and the International Security Committee

 and International Operations Committee of MasterCard International.

       119. In 1992, MasterCard International’s Executive Vice President and

 General Counsel wrote to the Department of Justice that “when one board acts with

 respect to a matter, the results of those actions are disseminated to the members

 who are members in both organizations. As a result, each of the Associations is a

 fishbowl and officers and board members are aware of what the other is doing,

 much more so than in the normal corporate environment.” High-ranking Visa

 executives have also noted the anticompetitive effects of the banks’ longstanding

 dual membership in and ownership of Visa and MasterCard. For example, in 1992,

 Visa International’s former President and CEO explained that “Visa was a better

 organization [before its owners acquired an interest in MasterCard. [I]t created

 more, it was more innovative, it was more vital and more imaginative. . . . The real

 creativity, ingenuity, desire to develop, [and] support from members that made

 Visa what it is today came before duality because there were groups of banks who

 wanted to support Visa to go beat up on MasterCard, and there were groups of


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 banks in MasterCard who wanted to support MasterCard to go beat up on Visa.

 And they weren’t sitting there as shareholders of both organizations not really

 caring who beat up on whom or if they didn’t beat up on anyone or not caring who

 won. If you’ve got one foot firmly placed on both sides of the street, who cares. . . .

 [a]nd I think that not only would the banks have benefited had they gone this way

 [without duality], but ultimately the consumer would, too . . . .” Compl. ¶ 60,

 United States v. Visa U.S.A., Inc. et al., No. 98-civ.7076 (S.D.N.Y. Oct. 7, 1998).

 That same year, Visa International’s Executive Vice President and General

 Counsel testified that “it is very difficult for us to take a step, an aggressive step

 that hurts MasterCard because the same banks who sit there on the board, who are

 in Visa are also in MasterCard.” In response to the question whether “duality has

 led to a decrease in intersystem competition between Visa and MasterCard,” he

 replied, “Absolutely,” and when asked whether duality harmed consumers, he

 answered “I think in the long run they would be better off without duality . . . .” Id.

 ¶ 61.

         120. Before their respective IPOs, the networks were essentially controlled

 by a small number of member banks — those with the largest shares of card

 issuance and with the highest sales-transaction volumes — including each of the

 Bank Defendants. These banks established their control by simultaneously serving

 on the Boards of Directors and/or important committees of either or, in many cases


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 both, Visa and MasterCard. This relationship among member banks and the

 networks has lessened competition between Visa and MasterCard because it makes

 the member banks less willing to implement policies that would increase

 competition between Visa and MasterCard for the business of merchants.

 Defendants also instituted a number of ownership and control restrictions to

 preserve the banks’ control, even after the IPOs.

       121. The member banks of Visa have exacerbated the effects of duality by

 causing Visa to enact, publicize and adhere to a policy that Visa “will not be

 disadvantaged” on interchange fees vis-à-vis MasterCard and American Express.

 Similarly, the member banks of MasterCard have caused MasterCard to adopt a

 policy of engaging in “competitive response” to increases in Visa’s interchange

 fees by “matching” Visa’s effective interchange rates, which guarantee that its

 Interchange Fees do not fall out of line with Visa’s. By causing Visa and

 MasterCard to adopt these twin policies, the member banks have enabled the

 networks to agree on levels of interchange fees to be paid by merchants. Since the

 explicit adoption of these policies, the average effective interchange rates of Visa

 and MasterCard have been virtually identical. When the banks, acting through

 Visa, adopted schedules of uniform interchange fees to be applied to all Visa

 transactions, they understood that the same banks, acting through MasterCard,

 would match the effective interchange fees reflected in the Visa schedules.


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       122. The Networks are aware of each other’s policies through

 communications with their dual member banks.

       123. Because MasterCard knows that Visa’s policy is to not be

 disadvantaged, it knows that Visa will match any interchange fee increase that it

 announces. Similarly, because Visa knows that MasterCard will make a

 “competitive response” to its interchange fee increases by “matching” those

 increases, it understands that its interchange fee will not place it at a competitive

 disadvantage for merchant acceptance. Thus neither Visa nor MasterCard has an

 incentive to compete for merchant acceptance based on interchange fee levels, and

 their member banks have the incentive to cause both Visa and MasterCard to

 continuously increase interchange fees. Industry-wide knowledge of the Visa and

 MasterCard policies has led the banks and the networks to a meeting of the minds

 that Visa and MasterCard will match each others’ effective interchange fees.

       124. Before Visa’s public announcement in 2002 that it would not be

 competitively disadvantaged with respect to interchange, MasterCard’s goal, as

 established by its management, was to maintain an interchange effective rate

 across all products (consumer credit, commercial credit, and debit) that was 3-5

 basis points (.03-.05%) higher than Visa’s overall effective rate. After Visa’s

 announcement, MasterCard’s goal has been to achieve parity with Visa, not only

 on an overall effective rate basis, but also on a product basis (consumer credit,


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 commercial credit, and debit). In fact, MasterCard has attempted to maintain parity

 with Visa even within segments of these product areas. For example, MasterCard’s

 World card and Visa’s Signature card are comparable “premium card” products

 within consumer credit. MasterCard and Visa have attempted to maintain parity on

 the overall effective interchange rate for these two products.

       125. MasterCard and Visa not only establish matching effective

 interchange rates, but they also establish matching interchange rate structures. For

 example, both Visa and MasterCard have created four segments in their consumer

 credit group of products. Visa segments its consumer credit products into

 “traditional,” “traditional with rewards,” “Signature,” and “Signature Plus.”

 MasterCard has four similar segments, but they are called “core,” “enhanced,”

 “World,” and “World Elite.” These segments are based on the level of rewards

 associated with the product and the higher the level of rewards, the higher the

 interchange rate. Similarly, both Visa and MasterCard have created tiers within

 their interchange rate structures, whereby lower interchange rates apply to high

 volume Merchants and higher interchange rates apply to lower volume Merchants.

       126. Therefore, virtually without exception, an interchange fee increase by

 either Visa or MasterCard is followed by a similar interchange fee increase by the

 other network. These collective acts are all manifestations of the effects of Duality.




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       127. But for the conspiracy among Visa, MasterCard, and their member

 banks, Visa and MasterCard would have had an incentive to decrease interchange

 and merchant-discount fees to merchants – in order to increase or promote

 merchant acceptance of their respective payment cards.

       128. Duality has also facilitated a high degree of uniformity in the other

 Competitive Restraints described above that the Networks impose on merchants.

 This lack of significant non-price competition is evidence of collusion among the

 Defendants and maintains their monopoly power.

       129. A Visa transaction is indistinguishable from a MasterCard transaction.

 The transactions utilize the same relationships among the same member banks to

 provide the same method of payment to merchants. Because of this identity

 between products, Visa and MasterCard and their member banks should principally

 compete for merchant acceptance on price, including the price of payment card

 interchange fees, but they do not.

       130. The understanding between Visa and MasterCard is reinforced by

 both Networks’ policies to discourage free-standing bilateral agreements between

 issuing banks and merchants.

       131. The understanding between Visa and MasterCard is further reinforced

 by both Networks’ policies of discouraging competition between Visa and

 MasterCard for the provision of card-acceptance services to merchants by, for


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 example, discouraging the development of exclusive acceptance and preferential-

 acceptance deals between merchants and the Visa and MasterCard networks.

       132. Competitive Restraints Conclusion: The Competitive Restraints,

 individually and in combination, eliminate issuing bank competition for merchant

 acceptance. In the absence of these rules, the market for merchant acceptance

 would be competitive. Plaintiff would be able to gain the benefits of competition as

 to the terms under which it would accept an issuing bank’s cards, including the

 amount of interchange fees — if any — Plaintiff would pay on transactions

 involving an issuing bank’s cards. Competition among issuing banks for merchant

 acceptance would result in lower interchange fees for Plaintiff and enhance the

 value to cardholders.

       133. The Honor All Cards Rules, the No Discount Rules, the No

 Surcharges Rules, the All Outlets Rules, and Duality individually and in

 combination, eliminate the incentives for Visa, MasterCard, and the Bank

 Defendants to compete for merchant acceptance through setting lower “default”

 interchange fees.

       134. In addition to the Competitive Restraints, a variety of other rules and

 regulations (often not publicly disclosed) enforced by Visa and MasterCard and

 their member banks also operate to support the anticompetitive effects of the

 Competitive Restraints and imposition of “default” interchange fees on Plaintiff.


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       135. The Competitive Restraints, including the collective setting of

 “default” interchange fees, are not reasonably necessary to accomplish any

 legitimate efficiency-generating objectives of the Visa, MasterCard, and Bank

 Defendants combinations in the general purpose payment card networks.

 Furthermore, numerous alternative means exist that would be less harmful to

 competition by which any such objectives could be accomplished. In numerous

 instances, banks examined ways to differentiate their own cards from their

 competitors’ at the point of sale through arrangements with merchants that would

 have benefitted their cardholders. Even though such differentiation, i.e.,

 competition, was in the banks’ individual interests, they did not engage in such

 competition because it was prohibited by Visa’s and MasterCard’s rules including,

 most notably, the Honor All Cards rules. That shows that the Honor All Cards

 rules and the supporting rules that barred any differentiation at the point of sale

 were not necessary for banks to issue payment cards. Domestic and international

 examples have also demonstrated that interchange fees are economically

 unnecessary to encourage Issuers to issue general purpose payment cards or for

 these payment systems to function. A fortiori, Issuers’ collusively-fixed,

 supracompetitive interchange fees are unjustifiable.

       136. There are no procompetitive justifications for the Competitive

 Restraints. If merchants had not been restrained by these rules, some of them could


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 have played Visa and MasterCard or the banks against one another by steering or

 threatening to steer customers away from using more expensive Visa and

 MasterCard credit and debit cards. Were it not for the Competitive Restraints,

 merchants could have used such tactics to try to negotiate more favorable terms

 from Visa or MasterCard or from individual Issuers. As a result, the Competitive

 Restraints, individually and collectively, exacerbated the anticompetitive effects of

 the conspiracies.

       137. The Defendants’ exclusionary acts have continued to suppress

 competition in the market for merchant acceptance of credit cards and debit cards,

 and thereby have enabled Issuers to charge higher interchange fees and the

 Networks to charge higher network fees than they otherwise would have been able

 to charge merchants. Also, as a direct consequence of the Defendants’ exclusionary

 conduct, Plaintiffs have been forced to incur substantial expenses in migrating their

 payment systems to the EMV technology which the Networks forced upon them on

 pain of increased fraud liability. The Defendants’ anticompetitive conduct has still

 further damaged Plaintiff by resulting in payment-fraud liability that it should not

 have incurred.

       138. The Defendants’ exclusionary acts have also harmed consumers

 through higher prices and forcing on the marketplace technology (magnetic-stripe

 technology and signature authentication of transactions) that is significantly less


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 secure and more prone to fraudulent transactions than alternatives (PIN

 authentication).

 C.    Market Power

       139. In addition to inflicting direct anticompetitive harm on merchants and

 cardholders with these conspiracies to fix prices and otherwise restrain

 competition, Defendants also have used the Competitve Restraints, including

 fixing interchange fees, to acquire and maintain their substantial market power.

 Specifically, Visa and MasterCard used supracompetitive interchange fees and the

 Competitive Restraints as an incentive for Issuers (who receive the interchange

 fees paid by merchants) to issue Visa and MasterCard credit cards and debit cards.

 Using price fixing to induce Issuers to join their cartels, Visa and MasterCard

 acquired sufficient market power in the credit and debit card markets such that

 most merchants were compelled to accept their cards for payment. Moreover, once

 a merchant started accepting Visa’s and MasterCard’s credit and debit cards for

 payment, it was virtually impossible to stop accepting them. Once Visa and

 MasterCard acquired substantial market power over merchants, they maintained it

 by forcing merchants to pay ever higher interchange fees to continue to fund these

 price-fixing schemes and thereby perpetually maintain and enhance their cartels’

 market power through the present day.




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       140. Visa’s and MasterCard’s substantial market power has persisted since

 2004 and remains intact today. In its Competitive Impact Statement relating to the

 Proposed Final Judgment as to Visa and MasterCard in United States v. American

 Express Company, No. 10-cv-4496-NGG-RER, (E.D.N.Y. Oct. 4, 2010), ECF No.

 5, at 6, the United States Department of Justice Antitrust Division (“Antitrust

 Division”) alleged that Visa and MasterCard possessed market power in the

 “network services market” for credit and debit cards. The non-discrimination

 restraints at issue in that case prevented merchants from “reduc[ing their]

 purchases of one network’s services by encouraging [their] customers to choose a

 competing network’s General Purpose Card.” Id. at 7. Although a merchant could

 theoretically resist high acceptance fees by no longer accepting Visa’s or

 MasterCard’s credit or debit cards, the Antitrust Division recognized that the “all-

 or-nothing choice d[id] not effectively constrain Defendants’ market power

 because merchants cannot refuse to accept these General Purpose Cards without

 alienating customers and losing significant sales.” Id.

       141. Visa’s and MasterCard’s ability to profitably impose supracompetitive

 interchange fees in the credit and debit card markets has also enabled them to

 exercise substantial market power on the cardholder side of the platform. Since

 2004, those supracompetitive fees have maintained the cohesion of the

 conspiracies and lured additional banks to join the horizontal conspiracies not to


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 compete and to fix prices. These conspiracies have ensured that banks have not

 competed on the basis of differentiating their offerings to cardholders through

 direct agreements with merchants that would have enabled such differentiation at

 the point of sale—differentiation that would have provided value to cardholders

 beyond what Issuers’ rewards programs provide today. Cardholders have paid

 higher prices and received less choice and innovation as a result.

          142. Visa’s and MasterCard’s substantial market power is also supported

 by direct evidence of that power. That evidence includes: (1) Visa’s and

 MasterCard’s ability to raise interchange fees and network fees without the loss of

 merchant acceptance or transaction volume; (2) Visa’s and MasterCard’s ability to

 limit competition among Issuers that would have benefitted cardholders; (3)

 successful price discrimination; (4) setting interchange fees unrelated to costs; (5)

 the ability to enforce anticompetitive policies; and (6) forcing merchants and

 consumers to accept inferior products—including products that are susceptible to

 fraud.

          143. Visa and MasterCard have raised interchange fees without merchants

 ceasing to accept their credit and debit cards. In fact, the Networks typically gained

 volume after these increases. For example, the Networks permitted Issuers to

 reclassify standard credit cards as premium cards and, at the flip of a switch, the

 interchange fees that merchants paid for transactions made with such cards


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 increased dramatically. Notwithstanding the vigorous merchant opposition to these

 punitive price increases, no merchant dropped Visa or MasterCard as a result.

       144. Visa’s and MasterCard’s rules have also prohibited Issuers from

 competing for cardholders by entering direct agreements with merchants that

 would have provided cardholders benefits, including lower prices, at the point of

 sale—benefits that would have gone beyond the rewards that Issuers offer

 cardholders today. Defendant’s internal records show that individual Issuers

 wanted the ability to differentiate their products by entering into such agreements,

 and that because of Visa’s and MasterCard’s substantial market power in the credit

 and debit card markets, Issuers instead agreed to continue to abide by the

 conspiracies not to compete and to fix prices. They have done so because they

 continue to make more profits from supracompetitive, collusively-fixed

 interchange fees than they would from competing for cardholders through direct

 agreements with merchants. Visa’s and MasterCard’s ability to limit competition

 for cardholders—which has raised prices and limited the choices available to

 them—provides further evidence of their substantial market power.

       145. As one court has held, Visa’s and MasterCard’s “ability to price

 discriminate also illustrates their market power. Both Visa and MasterCard charge

 differing interchange fees based, in part, on the degree to which a given merchant

 category needs to accept general purpose cards. . . . Transactions with catalog and


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 Internet merchants, for example, which rely almost completely on general purpose

 cards, have higher interchange fees than ‘brick-and-mortar’ merchants. [Visa and

 MasterCard] rationalize this difference by pointing to increased fraud in these

 merchant categories, but this explanation is belied by the fact that the Internet

 merchant, not Visa/MasterCard or their member banks, bears virtually all the risk

 of loss from fraudulent transactions.” United States v. Visa U.S.A. Inc., 163 F.

 Supp. 2d at 340-41. This price discrimination persisted throughout the Damages

 Period and continues to this day.

       146. Visa and MasterCard do not set interchange fees based upon cost. For

 example, with respect to the debit card market, as noted above, the Federal Reserve

 found in 2011 that Visa’s and MasterCard’s Signature Debit Card and PIN Debit

 Card rates were substantially above cost. With respect to the credit card market,

 Issuers’ costs of issuing credit cards are much lower than the very high interchange

 fees that prevail in the United States (even including Issuers’ costs of providing

 cardholder rewards). Visa’s and MasterCard’s ability to succeed in this conduct

 and profit from it, including by limiting Issuer competition for cardholders, is

 additional direct evidence of their substantial market power.

       147. Visa’s and MasterCard’s successful enforcement of anticompetitive

 rules and policies that harmed merchants and consumers without losing merchant

 acceptance or transaction volume, or incurring any bank defection from the cartels,


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 further demonstrates the substantial market power that Visa and MasterCard had,

 and still have, in the credit and debit card markets. Despite the adverse economic

 impact of these rules and policies on merchants, their customers and cardholders,

 merchants could not afford to stop accepting Visa or MasterCard transactions, and

 no Issuer defected from the cartels, because of Visa’s and MasterCard’s substantial

 market power.

       148. Visa’s and MasterCard’s ability to impose inferior-quality card

 products and to permit preventable fraud is further direct evidence of their

 substantial market power. Despite the availability of technology to reduce fraud,

 Visa, MasterCard, and their owner/member banks had no incentive to adopt it in

 the United States or compete using better technology, because they could, and did,

 shift fraud-related costs to merchants and further profit from fraud while insulating

 the banks from its costs. To the extent that Plaintiffs and their customers were

 forced to absorb the costs of such fraud through chargebacks or fees or fines, such

 costs are damages that flow from the conspiracies.

       149. In 2001, in United States v. Visa U.S.A., Inc., 163 F. Supp. 2d 322,

 341 (S.D.N.Y. 2001), aff’d, 344 F.3d 229 (2d Cir. 2003), the court found that Visa

 had market power in the market for credit card network services with a 47% share

 of the dollar volume of credit card transactions in the United States. In 2003, in In

 re Visa Check/MasterMoney Antitrust Litigation, 2003 U.S. Dist. LEXIS 4965


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 (E.D.N.Y. Apr. 1, 2003), the court reaffirmed that Visa had market power in the

 credit card market based on a finding that its market share fluctuated between 43%

 and 47%, as well as the barriers to entering the relevant product market. Visa’s

 share of the credit card market has not changed significantly since these two

 holdings. The prior judicial findings of market power demonstrate that Visa has

 market power in the credit card network services market.

       150. There are significant barriers to entry into the market for credit cards.

 Indeed, the court in United States v. Visa U.S.A., Inc., 163 F. Supp. 2d 322, 341

 (S.D.N.Y. 2001), aff’d, 344 F.3d 229 (2d Cir. 2003), specifically found that there

 are high barriers to entry into the credit card market. Visa’s former CEO described

 starting a new card network as a “monumental” task involving expenditures and

 investment of over $1 billion. Both AT&T and Citibank conducted entry analyses,

 but decided it would be unprofitable to attempt to start a competing credit card

 business.

       151. The difficulties associated with entering the credit card market are

 exemplified by the fact that no company has entered since Discover did so in 1985.

 Discover has never achieved more than a 7% share of the credit card market and its

 current share is approximately 5%.

       152. In United States v. Visa U.S.A., Inc., 163 F. Supp. 2d 322, 341

 (S.D.N.Y. 2001), aff’d, 344 F.3d 229 (2d Cir. 2003), the court held that


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 MasterCard’s 26% share of dollar volume of credit and charge card transactions

 was sufficient to demonstrate that it had market power in the market for credit card

 network services. In In re Visa Check/MasterMoney Antitrust Litigation, 2003 U.S.

 Dist. LEXIS 4965 (E.D.N.Y. Apr. 1, 2003), the court held that MasterCard’s 26%

 to 28% share of the credit card market was sufficiently high to go to a jury on the

 question of MasterCard’s market power. MasterCard’s share of the credit card

 market has not changed significantly since those decisions.

       153. MasterCard’s “default” credit interchange fees also demonstrate

 MasterCard’s market power. Effective credit card interchange fees have risen over

 time, even as the costs of issuing credit cards have fallen for its member banks and

 even as interchange fees for debit cards have fallen. Despite these increases,

 merchants have not stopped accepting MasterCard credit cards. Further,

 MasterCard’s market power is demonstrated by its ability to discriminate in price

 among types of merchants, by distinguishing merchants by size, transactions by

 size, cards by type, and merchants by retail category.

       154. Visa, jointly with its issuing banks, and MasterCard, jointly with its

 issuing banks, each also exercise market power in the market for debit cards in the

 United States and its territories, certainly including Texas.

       155. The debit card market is dominated by Visa and MasterCard.

 Combined, Visa and MasterCard comprised about 75% of all debit purchase


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 volume in 2004 and comprise over 80% today. Only Visa, MasterCard, and

 Discover allow signature authorization of debit transactions. Visa and MasterCard

 have exercised and continue to exercise market power by requiring Plaintiff to pay

 supracompetitive interchange fees and by imposing the Competitive Restraints on

 Plaintiff.

        156. Visa and MasterCard each participates in and manages a combination

 comprised of the vast majority of issuing banks of debit cards, such that merchants

 are unable to refuse to accept Visa-branded debit cards or MasterCard-branded

 debit cards. This combination of issuing banks, including the Bank Defendants,

 combined with the Competitive Restraints gives Visa and MasterCard market

 power. Visa and MasterCard have exercised and continues to exercise market

 power by requiring Plaintiff to pay supracompetitive interchange fees and by

 imposing the Competitive Restraints.

        157. Visa’s and MasterCard’s market power over merchants in the debit

 card market is demonstrated by the fact that, when the ties forcing merchants to

 accept Visa and MasterCard debit cards as a condition of accepting Visa or

 MasterCard credit cards were dropped in 2003, there is no evidence that merchants

 were able to stop accepting Visa or MasterCard debit cards despite the availability

 of lower cost PIN debit networks. In addition, in 2011 the Federal Reserve Board

 found that Visa’s and MasterCard’s debit interchange rates were significantly


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 above cost. Because of Visa’s, MasterCard’s, and the Bank Defendants’

 Competitive Restraints, merchants and consumers cannot gain the benefits of

 competition among issuing banks for terms of debit card acceptance.

       158. Issuers have strong economic incentives to issue debit cards even

 without income from interchange fees. Debit cards provide numerous economic

 benefits to Issuers that justify their issuance even without interchange fees. These

 benefits include: (1) savings relative to the costs of processing checks and cash; (2)

 motivating cardholders to maintain larger bank deposits, which Issuers can then

 lend; and (3) helping the Issuer to cross-sell other lucrative services, such as

 mortgages, home equity lines, and credit cards. Moreover, issuance of debit cards

 enhances the “stickiness” of the Issuer’s valuable relationship with its customers.

       159. The substantial non-interchange economic benefits of issuing debit

 cards explain why Issuers did not anticipate any significant adverse impact as a

 result of the regulatory cap that the Federal Reserve placed on debit card

 interchange fees in the United States pursuant to the Durbin Amendment.

 Addressing that impending regulatory cap, the CEO of Citigroup said: “We don’t

 have much of an impact on debit card interchange or overdraft fees. Those are

 really small impacts on us.” Citigroup Inc. Q4 2010 Earnings Call Transcript (Jan.

 18, 2011). The Chairman and CEO of City National Corporation predicted: “The

 Durbin amendment on debit card interchange fees . . . its economic impact on City


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 National is not going to be material.” City National Corporation Q4 2010 Earnings

 Call Transcript (Jan. 20, 2011). TCF Financial Corp.’s Chairman and CEO added

 that “[w]e’ll obviously still be profitable” even if there is a cap imposed on debit

 Interchange Fees. Transcript to TCF Financial Corp.’s Conference Call, TCF

 Discusses Lawsuit Challenging Durbin Amendment (Oct. 12, 2010).

       160. The facts that debit card issuance continues to be profitable and that

 debit volumes have increased since debit card interchange fees for regulated banks

 declined significantly beginning in late 2011 reinforce the conclusion Visa and

 MasterCard, along with their issuing member banks, each have market power in

 the debit card market, including both merchant acceptance of debit cards and

 cardholder issuance of credit cards.

 D.    Competitive Injury

       161. Defendants’ anticompetitive conduct has generated more than $450

 billion in interchange fees for the colluding Issuers since 2004—fees paid by

 merchants such as Plaintiff and their customers. Merchants and their customers

 continue to pay them to this day. From 2004 to the present, Plaintiff has accepted

 Visa-branded and MasterCard-branded credit and debit cards at its restaurants and

 sues only for antitrust injuries related to purchases by customers using credit and

 debit cards issued to them in the United States.




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       162. Defendants’ price-fixing cartels and monopolistic conduct have

 caused substantial and ongoing anticompetitive harm to Plaintiff as a direct

 purchaser of payment card network services, in the form of inflated interchange

 fees paid directly by Plaintiff, foreclosure of network competitors, and reduced

 output. Defendants’ inflated interchange fees for rewards cards have not resulted in

 incremental sales at Plaintiff’s restaurants. To the contrary, rewards cards have

 harmed Plaintiff because they incentivize consumers to use higher-priced rewards

 cards when consumers would otherwise have spent the same amount using lower-

 cost credit cards. Plaintiff and its customers have borne—and continue to bear—

 the brunt of tens of millions of dollars of supracompetitive fees and severely

 decreased consumer welfare.

       163. Defendants’ price-fixing cartels have also caused substantial and

 ongoing anticompetitive harm to cardholders in the form of reduced choices and

 innovation, higher prices, reduced output, and increased payment fraud. The

 Defendants’ monopolistic conduct has exacerbated that consumer injury through

 increased fraud and higher costs that are borne by consumers. Contrary to

 Defendants’ claims that supracompetitive interchange fees are justified by

 cardholder rewards programs, those programs would continue to exist in the

 absence of Defendants’ unlawful price fixing and agreement not to compete for

 merchant acceptance. Moreover, Issuers’ competition for merchant agreements


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 would create cardholder rewards and discounts beyond those offered by Issuers

 today. Defendants’ foreclosure of that competition has therefore harmed

 cardholders.

       164. Visa’s and MasterCard’s interchange fee increases outweighed any

 benefit that the Defendants claim those increases provided cardholders. Although

 Defendants have historically claimed that interchange fees are simply passed

 through to cardholders as rewards, the Bank Defendants keep at least half the

 interchange fees they receive as supracompetitive profits.

       165. Plaintiff has suffered direct antitrust injury from Defendants’ conduct

 in violation of the Texas Free Enterprise and Antitrust Act. Plaintiff has directly

 paid the applicable interchange fees to the relevant Issuer with respect to

 transactions in which a Plaintiff accepted a Visa or MasterCard credit or debit card

 as a method of payment. As a result, Plaintiff has paid (and continues to pay)

 substantial, unlawful overcharges is a direct result of the Defendants’ agreements

 not to compete, price fixing and monopolization set out in this Complaint. Plaintiff

 also has been (and continues to be) deprived of the benefits of competition limited

 by this conduct in the relevant markets.

       166. Because the supracompetitive interchange fees that Plaintiff had to

 pay were a substantial cost of doing business, Plaintiff was forced to raise its prices

 paid by its customers or to reduce retail services provided to its customers as a


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 means of offsetting these interchange fees. As a result, retail sales were below what

 they would have been, which reduced output and thereby harmed the economy.

 Moreover, as evidenced by the impact on merchant acceptance of the mandated

 interchange fee reductions in Australia and Europe, inflated interchange fees also

 artificially reduce merchant acceptance of credit and debit cards. These reductions

 in retail sales and merchant acceptance, coupled with the limitations on

 competition from other networks resulting from Defendants’ anticompetitive

 conduct, significantly reduced output below what it would have been. By imposing

 a massive and hidden tax on both merchants and consumers, Defendants’ conduct

 decreased cardholder welfare and imposed substantial anticompetitive harm.

       167. Moreover, because of the conduct detailed in this Complaint, Plaintiff

 could not limit these higher retail prices to customers using the Visa and

 MasterCard credit and debit cards that generated the underlying interchange fees.

 All customers, including less affluent ones who are more likely to pay with cash,

 had to bear the cost of these inflated interchange fees in the form of higher retail

 prices or reduced retail services.

       168. Further, the imposition of supracompetitive interchange fees distorted

 Issuer incentives in both markets, resulting in decreased choices for cardholders

 and the perpetuation of the fraud-prone magnetic-stripe system in the United




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 States. This diminution of quality and innovation for cardholders is a further harm

 to competition.

                              CLAIMS FOR RELIEF

 COUNT I: Agreements in restraint of trade and unlawful price fixing of
 Visa’s credit card interchange fees in violation of the Texas Free Enterprise
 and Antitrust Act of 1983

       169. Plaintiff repeats and re-alleges each and every allegation contained in

 the foregoing paragraphs with the same force and effect as if fully set forth here.

       170. The use of credit cards issued by members of Visa, including the

 Bank Defendants, and the rules governing the use of such cards occur in and have

 a substantial anticompetitive effect on commerce in this State.

       171. Visa and its member banks, including the Bank Defendants, are a

 combination within the meaning of the Texas Free Enterprise and Antitrust Act of

 1983, Section 15.05(a). Visa’s rules and related contracts constitute agreements

 and/or conspiracies within the meaning of the Texas Free Enterprise and Antitrust

 Act of 1983, Section 15.05(a). Visa’s Competitive Restraints, as defined above,

 constitute horizontal agreements among Visa and its members, including the Bank

 Defendants, both prior to and after Visa’s reorganization and IPO. Visa has served

 and continues to serve as the manager of a combination that limits competition

 among the bank members of the combination through the rules governing credit

 cards agreed to by Visa members. Accordingly, by these arrangements, Visa has


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 facilitated and continues to facilitate a horizontal agreement among the Bank

 Defendants and other member banks, which would otherwise compete for

 merchant acceptance of the credit cards each issues. It would be contrary to the

 independent self-interest of individual issuing banks to forgo the ability to compete

 for merchant acceptance in the absence of an agreement with other issuing banks,

 managed by Visa, similarly not to compete.

       172. In addition, Visa’s rules and related contracts entered into before the

 Visa IPO constituted a horizontal agreement from which Visa and the member

 banks, including the Bank Defendants, have never withdrawn. In changing its

 corporate form at the time of the IPO, Visa did not take any affirmative action to

 end its existing anticompetitive arrangements, either by communicating to its

 members a decision to withdraw from the rules and agreements with its members

 or by taking any other steps to effectuate withdrawal from the rules and

 agreements. Nor did the Bank Defendants take any steps to withdraw from the

 rules and agreements or take any other steps to effectuate withdrawal from the

 rules and agreements.

       173. The price-fixing conspiracy and agreement not to compete were per se

 violations of the Texas Free Enterprise and Antitrust Act. Even if analyzed under a

 rule of reason, this conspiracy and agreement not to compete were unreasonable

 restraints of trade in violation of the Texas Free Enterprise and Antitrust Act. This


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 scheme served no legitimate business purpose, and achieved no legitimate

 efficiency benefit to offset its substantial anticompetitive effects.

           174. Alternatively,       the   Competitive       Restraints    constitute     vertical

 agreements in restraint of trade. Visa entered into express vertical agreements with

 each of its owner/member banks, binding all of its owner/member banks to comply

 with the rules and regulations of its network, including the rules at issue in this

 Complaint. In turn, Visa acts as the enforcement agent and holds its issuing and

 acquiring members responsible for compliance with the rules. These vertical price

 restraints have continued in full effect, including after Visa’s IPO.

           175. For example, the “General Overview” of the April 10, 2011 Visa

 International Operating Regulations states: “The Visa International Operating

 Regulations are set and modified by Visa to support the use and innovation of Visa

 products and services, and represent a binding contract between Visa and all

 Members.” Visa’s current rules contain virtually identical “binding contract”

 language. 11

           176. As alleged above, Visa and its members, including the Bank

 Defendants, jointly have market power in the relevant market.

           177. Individually and in combination, the Competitive Restraints constitute

 an illegal agreement to fix the price of acceptance of Visa-branded credit cards and


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      See Introduction, Visa Core Rules and Visa Product and Service Rules (Apr. 16, 2016).
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 to prevent the operation of and interfere with the competitive process with respect

 to the acceptance of Visa-branded credit cards, in violation of the Texas Free

 Enterprise and Antitrust Act of 1983, Section 15.05(a).

       178. The Competitive Restraints, described above, eliminate competition

 by removing the ability of merchants to gain the benefits of competition as to the

 fees paid to particular issuing banks. This further eliminates merchant acceptance

 as one of the areas of competition among issuing banks. Absent these rules,

 merchants would have been able to (and would continue to be able to) use a variety

 of competitive strategies, ranging from not accepting the cards of certain issuing

 banks or not accepting certain card types at certain locations, to offering benefits to

 consumers tendering certain card types of certain issuing banks. But for the

 Competitive Restraints, competition among issuing banks for acceptance, or

 favorable terms of acceptance, by merchants would lower the cost of acceptance

 for credit cards and cardholders would have received more value, choice, and

 innovation.

       179. Plaintiff has suffered antitrust injury as a result of the illegal restraints

 on the costs charged for acceptance of credit cards by merchants, which are the

 result of Visa and the Bank Defendants’ Competitive Restraints. The effect of

 these restraints has been to increase the cost of acceptance of credit cards paid by




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 Plaintiff, thereby injuring both Plaintiff and consumers through higher costs and

 decreased consumer welfare.

       180. The Defendants’ conspiracy harmed cardholders by reducing the

 choices available to them in the relevant market, by raising prices, and by

 increasing their exposure to fraud.

       181. The Defendants’ illegal conduct has been willful and/or flagrant.

 Therefore, Plaintiff is entitled to treble damages, including reasonable attorney fees

 according to Section 15.21(a)(1) of the Texas Business and Commerce Code.

       182. Plaintiff has suffered and will continue to suffer irreparable harm due

 to Defendants’ illegal conduct that cannot be adequately compensated with money

 damages. Because Plaintiff’s legal remedy will not be adequate to compensate for

 irreparable injuries inflicted by Defendants, Plaintiff is entitled to permanent

 injunctive relief.

 COUNT II: Agreements in restraint of trade and unlawful price fixing of
 Visa’s debit card interchange fees in violation of the Texas Free Enterprise
 and Antitrust Act of 1983

       183. Plaintiff repeats and re-alleges each and every allegation contained in

 the foregoing paragraphs with the same force and effect as if fully set forth here.

       184. The use of debit cards issued by members of Visa and the rules

 governing the use of such cards occur in and have a substantial anticompetitive

 effect on commerce in this State.


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       185. Visa and its member banks, including the Bank Defendants are a

 combination within the meaning of the Texas Free Enterprise and Antitrust Act of

 1983, Section 15.05(a). Visa’s rules and related contracts with its members,

 including the Bank Defendants, constitute agreements and/or conspiracies within

 the meaning of the Texas Free Enterprise and Antitrust Act of 1983, Section

 15.05(a). Visa’s Competitive Restraints, as defined above, constitute horizontal

 agreements among Visa and its members, including the Bank Defendants, both

 prior to and after Visa’s reorganization and IPO. Visa has served and continues to

 serve as the manager of a combination that limits competition between the bank

 members of the combination through the rules governing debit cards agreed to by

 Visa members. Accordingly, by these arrangements, Visa has facilitated and

 continues to facilitate a horizontal agreement among its members and the Bank

 Defendants, which would otherwise compete for merchant acceptance of the debit

 cards each issues. It would be contrary to the independent self-interest of

 individual issuing banks, including the Bank Defendants to forgo the ability to

 compete for merchant acceptance in the absence of an agreement with other

 issuing banks, managed by Visa, similarly not to compete.

       186. In addition, Visa’s rules and related contracts entered into before the

 Visa IPO constituted a horizontal agreement from which Visa and the member

 banks, including the Bank Defendants, have never withdrawn. In changing its


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 corporate form at the time of the IPO, Visa did not take any affirmative action to

 end its existing anticompetitive arrangements, either by communicating to its

 members a decision to withdraw from the rules and agreements with its members

 or by taking any other steps to effectuate withdrawal from the rules and

 agreements. Nor did its members, including the Bank Defendants, take any steps to

 withdraw from the rules and agreements or take any other steps to effectuate

 withdrawal from the rule and agreements.

       187. The price-fixing conspiracy and agreement not to compete were per se

 violations of the Texas Free Enterprise and Antitrust Act, as amended. Even if

 analyzed under a rule of reason, this conspiracy and agreement not to compete

 were unreasonable restraints of trade in violation of the Texas Free Enterprise and

 Antitrust Act. This scheme served no legitimate business purpose, and achieved no

 legitimate efficiency benefit to offset its substantial anticompetitive effects.

       188. Alternatively, after the Visa IPO, the Competitive Restraints

 constitute vertical agreements in restraint of trade.

       189. As alleged above, Visa and its members, including the Bank

 Defendants, jointly have market power in the market for debit card network

 services.

       190. Individually and in combination, the Competitive Restraints constitute

 an illegal agreement to fix the price of acceptance of Visa-branded debit cards and


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 to prevent the operation of and interfere with the competitive process with respect

 to the acceptance of debit cards, in violation of the Texas Free Enterprise and

 Antitrust Act of 1983.

       191. The Competitive Restraints, described above, eliminate competition

 by removing the ability of merchants to gain the benefits of competition as to fees

 paid to particular issuing banks. Absent these rules, merchants would have been

 able to (and would continue to be able to) use a variety of competitive strategies,

 ranging from not accepting the cards of certain issuing banks or not accepting

 certain card types at certain locations, to offering benefits to consumers tendering

 certain card types of certain issuing banks. But for the Competitive Restraints,

 competition among issuing banks for acceptance, or favorable terms of acceptance,

 by merchants would lower the cost of acceptance for debit cards.

       192. Plaintiff has suffered antitrust injury as a result of the illegal restraints

 on the costs charged for acceptance of debit cards by merchants, which are the

 result of Visa and the Bank Defendants’ Competitive Restraints. The effect of

 these restraints has been to increase the cost of acceptance of debit cards paid by

 Plaintiff, thereby injuring both Plaintiff and consumers through higher costs and

 increased prices.




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       193. The Defendants’ conspiracy harmed cardholders by reducing the

 choices available to them in the relevant market, by raising prices, and by

 increasing their exposure to fraud.

       194. The Defendants’ illegal conduct was willful and/or flagrant.

 Therefore, Plaintiff is entitled to treble damages, including reasonable attorney fees

 according to Section 15.21(a)(1) of the Texas Business and Commerce Code.

       195. Plaintiff has suffered and will continue to suffer irreparable harm due

 to Defendants’ illegal conduct that cannot be adequately compensated with money

 damages. Because Plaintiff’s legal remedy will not be adequate to compensate for

 irreparable injuries inflicted by Defendants, Plaintiff is entitled to permanent

 injunctive relief.

 COUNT III: Agreements in restraint of trade and unlawful price fixing of
 MasterCard’s credit card interchange fees in violation of the Texas Free
 Enterprise and Antitrust Act of 1983

       196. Plaintiff repeats and re-alleges each and every allegation contained in

 the foregoing paragraphs with the same force and effect as if fully set forth here.

       197. The use of credit cards issued by members of MasterCard, including

 the Bank Defendants and the rules governing the use of such cards occur in and

 have a substantial anticompetitive effect on commerce in this State.

       198.    MasterCard and its member banks including the Bank Defendants are

 a combination within the meaning of the Texas Free Enterprise and Antitrust Act


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 of 1983, Section 15.05(a). MasterCard’s rules and related contracts constitute

 agreements and/or conspiracies within the meaning of the Texas Free Enterprise

 and Antitrust Act of 1983, Section 15.05(a). MasterCard’s Competitive Restraints,

 as defined above, constitute horizontal agreements among MasterCard and its

 members, including the Bank Defendants, both prior to and after MasterCard’s

 IPO. MasterCard has served and continues to serve as the manager of a

 combination that limits competition among the bank members of the combination

 through the rules governing credit cards agreed to by MasterCard members.

 Accordingly, by these arrangements, MasterCard has facilitated and continues to

 facilitate a horizontal agreement among the Bank Defendants and its other

 members, which would otherwise compete for merchant acceptance of the credit

 cards each issues. It would be contrary to the independent self-interest of

 individual issuing banks to forgo the ability to compete for merchant acceptance in

 the absence of an agreement with other issuing banks and Bank Defendants,

 managed by MasterCard, similarly not to compete.

       199. In addition, MasterCard’s rules and related contracts entered into

 before the MasterCard IPO constituted a horizontal agreement from which

 MasterCard and the member banks, including the Bank Defendants, have never

 withdrawn. In changing its ownership structure at the time of the IPO, MasterCard

 did not take any affirmative action to end its existing anticompetitive


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 arrangements, either by communicating to its members a decision to withdraw

 from the rules and agreements with its members or by taking any other steps to

 effectuate withdrawal from the rules and agreements. Nor did the Bank Defendants

 take any steps to withdraw from the rules and agreements or take any other steps to

 effectuate withdrawal from the rules and agreements.

       200. The price-fixing conspiracy and agreement not to compete were per se

 violations of the Texas Free Enterprise and Antitrust Act. Even if analyzed under a

 rule of reason, this conspiracy and agreement not to compete were unreasonable

 restraints of trade in violation of the Texas Free Enterprise and Antitrust Act. This

 scheme served no legitimate business purpose, and achieved no legitimate

 efficiency benefit to offset its substantial anticompetitive effects.

       201. Alternatively,      the   Competitive     Restraints    constitute   vertical

 agreements in restraint of trade. MasterCard entered into express vertical

 agreements with its owner/member banks, binding all of its owner/member banks

 to comply with the rules and regulations of its network, including the rules at issue

 in this Complaint. In turn, MasterCard acts as the enforcement agent and holds its

 issuing and acquiring members responsible for compliance with the rules. This

 vertical price restraint has continued in full effect, including after MasterCard’s

 IPO. Rule 1.3 of the July 15, 2011 MasterCard Rules states: “An applicant to be a

 Member must agree, and by execution and submission of an application to be a


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 Member agrees, that it will comply with all applicable provisions of the Certificate

 of Incorporation and the Standards of this Corporation.” In turn, “Standards” is

 defined as: “The Amended and Restated Certificate of Incorporation, Bylaws,

 Rules, and policies, and the operating regulations and procedures of the

 Corporation, including but not limited to any5manuals, guides or bulletins, as may

 be amended from time to time.” See Definitions, MasterCard Rules (July 15,

 2011). MasterCard’s current rules are largely the same. 12

        202. As alleged above, MasterCard and its members, including the Bank

 Defendants, jointly have market power in the relevant market.

        203. Individually and in combination, the Competitive Restraints constitute

 an illegal agreement to fix the price of acceptance of MasterCard-branded credit

 cards and to prevent the operation of and interfere with the competitive process

 with respect to the acceptance of credit cards, in violation of the Texas Free

 Enterprise and Antitrust Act of 1983, Section 15.05(a).




 12 See, e.g., MasterCard Rule 1.6 (The License), Ch. 1—The License and Participation (“Each
 Customer agrees, and by use of any one or more of the Marks agrees, to comply with all
 provisions of the License pertaining to use of the Marks and with the Standards of this
 Corporation ….”); Appendix C (Definitions) (defining “Customer” as “[a] financial institution or
 other entity that has been approved for Participation;” “License” as “[t]he contract between the
 Corporation and a Customer granting the Customer the right to use one or more of the Marks in
 accordance with the Standards;” and “Standards” as “[t]he organizational documents, operating
 rules, regulations, policies, and procedures of the Corporation, including but not limited to any
 manuals, guides or bulletins . . .”), MasterCard Rules
 (July 7, 2016).

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       204. The Competitive Restraints, described above, eliminate competition

 by removing the ability of merchants to gain the benefits of competition as to the

 fees paid to particular issuing banks. Absent these rules, merchants would have

 been able to (and would continue to be able to) use a variety of competitive

 strategies, ranging from not accepting the cards of certain issuing banks or not

 accepting certain card types at certain locations, to offering benefits to consumers

 tendering certain card types of certain issuing banks. But for the competitive

 Restraints, competition among issuing banks for acceptance, or favorable terms of

 acceptance, by merchants would lower the cost of acceptance for credit cards.

       205. Plaintiff has suffered antitrust injury as a result of the illegal restraints

 on the costs charged for acceptance of credit cards by merchants, which are the

 result of MasterCard and the Bank Defendants’ Competitive Restraints. The effect

 of these restraints has been to increase the cost of acceptance of credit cards paid

 by Plaintiff, thereby injuring both Plaintiff and consumers through higher costs and

 increased prices.

       206. The Defendants’ conspiracy harmed cardholders by reducing the

 choices available to them in the relevant market, by raising prices, and by

 increasing their exposure to fraud.




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       207. The Defendants’ illegal conduct was willful and/or flagrant.

 Therefore, Plaintiff is entitled to treble damages, including reasonable attorney fees

 according to Section 15.21(a)(1) of the Texas Business and Commerce Code.

       208. Plaintiff has suffered and will continue to suffer irreparable harm due

 to Defendants’ illegal conduct that cannot be adequately compensated with money

 damages. Because Plaintiff’s legal remedy will not be adequate to compensate for

 irreparable injuries inflicted by Defendants, Plaintiff is entitled to permanent

 injunctive relief.

 COUNT IV: Agreements in restraint of trade and unlawful price fixing of
 MasterCard’s debit card interchange fees in violation of the Texas Free
 Enterprise and Antitrust Act of 1983

       209. Plaintiff repeats and re-alleges each and every allegation contained in

 the foregoing paragraphs with the same force and effect as if fully set forth here.

       210. The use of debit cards issued by members of MasterCard and the rules

 governing the use of such cards occur in and have a substantial anticompetitive

 effect on commerce in this state.

       211. MasterCard and its member banks, including the Bank Defendants,

 are a combination within the meaning of the Texas Free Enterprise and Antitrust

 Act of 1983, Section 15.05(a). MasterCard’s rules and related contracts with its

 members, including the Bank Defendants, constitute agreements and/or

 conspiracies within the meaning of the Texas Free Enterprise and Antitrust Act of


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 1983, Section 15.05(a). MasterCard’s Competitive Restraints, as defined above,

 constitute horizontal agreements among MasterCard and its members, including

 the Bank Defendants, both prior to and after MasterCard’s IPO. MasterCard has

 served and continues to serve as the manager of a combination that limits

 competition among the bank members of the combination through the rules

 governing debit cards agreed to by MasterCard members. Accordingly, by these

 arrangements, MasterCard has facilitated and continues to facilitate a horizontal

 agreement among its members and the Bank Defendants, which would otherwise

 compete for merchant acceptance of the debit cards each issues. It would be

 contrary to the independent self-interest of individual issuing banks, including the

 Bank Defendants, to forgo the ability to compete for merchant acceptance in the

 absence of an agreement with other issuing banks, managed by MasterCard, to

 similarly not compete.

       212. Individually and in combination, the Competitive Restraints constitute

 an illegal agreement to fix price of acceptance of MasterCard-branded debit cards

 and to prevent the operation of and interfere with the competitive process with

 respect to the acceptance of debit cards, in violation of the Texas Free Enterprise

 and Antitrust Act of 1983.

       213. The Competitive Restraints, described above, eliminate competition

 by removing the ability of merchants to gain the benefits of competition as to fees


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 paid to particular issuing banks. Absent these rules, merchants would have been

 able to (and would continue to be able to) use a variety of competitive strategies,

 ranging from not accepting the cards of certain issuing banks or not accepting

 certain card types at certain locations, to offering benefits to consumers tendering

 certain card types of certain issuing banks. But for the Competitive Restraints,

 competition among issuing banks for acceptance, or favorable terms of acceptance,

 by merchants would lower the cost of acceptance for debit cards.

       214. Plaintiff has suffered antitrust injury as a result of the illegal restraints

 on the costs charged for acceptance of debit cards by merchants, which are the

 result of MasterCard and the Bank Defendants’ Competitive Restraints. The effect

 of these restraints has been to increase the cost of acceptance of debit cards paid by

 Plaintiff, thereby injuring both Plaintiff and consumers through higher costs and

 increased prices.

       215. The Defendants’ conspiracy also harmed cardholders by reducing the

 choices available to them in the relevant market, by raising prices, and by

 increasing their exposure to fraud.

       216. The price-fixing conspiracy and agreement not to compete were per se

 violations of the Texas Free Enterprise and Antitrust Act. Even if analyzed under a

 rule of reason, this conspiracy and agreement not to compete were unreasonable

 restraints of trade in violation of the Texas Free Enterprise and Antitrust Act. This


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 scheme served no legitimate business purpose, and achieved no legitimate

 efficiency benefit to offset its substantial anticompetitive effects.

       217. The Defendants’ illegal conduct was willful and/or flagrant.

 Therefore, Plaintiff is entitled to treble damages, including reasonable attorney fees

 according to Section 15.21(a)(1) of the Texas Business and Commerce Code.

       218. Plaintiff has suffered and will continue to suffer irreparable harm due

 to Defendants’ illegal conduct that cannot be adequately compensated with money

 damages. Because Plaintiff’s legal remedy will not be adequate to compensate for

 irreparable injuries inflicted by Defendants, Plaintiff is entitled to permanent

 injunctive relief.

 COUNT V: Monopolization by Visa and Bank Defendants in violation of the
 Texas Free Enterprise and Antitrust Act of 1983

       219. Plaintiff repeats and re-alleges each and every allegation contained in

 the foregoing paragraphs with the same force and effect as if fully set forth here.

       220. Visa has monopoly power in the relevant markets in the United States,

 including Texas.

       221. The Competitive Restraints further and protect Visa’s monopoly

 power by ensuring that no competitor can make inroads on its market position by

 offering cheaper or more efficient credit card services to merchants. The adoption,

 imposition, and enforcement of the Competitive Restraints constitute willful

 maintenance of monopoly power, which harms the competitive process and
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 consumers, in violation of the Texas Free Enterprise and Antitrust Act of 1983,

 Section 15.05(b).

       222. No procompetitive justification exists for the Competitive Restraints.

       223. As a direct and foreseeable result of Visa’s willful maintenance of its

 monopoly power in the markets identified above by the anticompetitive device of

 the Competitive Restraints, Plaintiff has suffered threatened and actual injury to its

 business and property.

       224. As a direct and foreseeable result of Visa’s willful maintenance of its

 monopoly power in the markets identified above by the anticompetitive device of

 the Competitive Restraints, Plaintiff has also suffered and continues to suffer

 irreparable injury for which there is no adequate remedy at law.

       225. The Defendants’ monopolization has harmed cardholders by reducing

 the choices available to them in the relevant market, by raising prices, and by

 increasing their exposure to fraud.

       226. Visa’s monopolization has affected commerce in this state.

       227. The conduct described herein is likely to continue unless enjoined.

       228. The Defendants’ illegal conduct was willful and/or flagrant.

 Therefore, Plaintiff is entitled to treble damages, including reasonable attorney fees

 according to Section 15.21(a)(1) of the Texas Business and Commerce Code.




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       229. Plaintiff has suffered and will continue to suffer irreparable harm due

 to Defendants’ illegal conduct that cannot be adequately compensated with money

 damages. Because Plaintiff’s legal remedy will not be adequate to compensate for

 irreparable injuries inflicted by Defendants, Plaintiff is entitled to permanent

 injunctive relief.

 COUNT VI: Monopolization by MasterCard and Bank Defendants in
 violation of the Texas Free Enterprise and Antitrust Act of 1983

       230. Plaintiff repeats and re-alleges each and every allegation contained in

 the foregoing paragraphs with the same force and effect as if fully set forth here.

       231. MasterCard has monopoly power in the relevant markets in the United

 States, including Texas.

       232. The Competitive Restraints further and protect MasterCard’s

 monopoly power by ensuring that no competitor can make inroads on its market

 position by offering cheaper or more efficient credit card network services to

 merchants. The adoption, imposition, and enforcement of the Competitive

 Restraints constitute willful maintenance of monopoly power, which harms the

 competitive process and consumers, in violation of the Texas Free Enterprise and

 Antitrust Act of 1983, Section 15.05(b).

       233. No procompetitive justification exists for the Competitive Restraints.

       234. As a direct and foreseeable result of MasterCard’s willful

 maintenance of its monopoly power in the markets identified above by the
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 anticompetitive device of the Competitive Restraints, Plaintiff has suffered

 threatened and actual injury to their business and property.

        235. As a direct and foreseeable result of MasterCard’s willful

 maintenance of its monopoly power in the markets identified above by the

 anticompetitive device of the Competitive Restraints, Plaintiff has also suffered

 and continue to suffer irreparable injury for which there is no adequate remedy at

 law.

        236. The Defendants’ monopolization has harmed cardholders by reducing

 the choices available to them in the relevant market, by raising prices, and by

 increasing their exposure to fraud.

        237. MasterCard’s monopolization has occurred in and affected commerce

 in this state.

        238. The conduct described herein is likely to continue unless enjoined.

        239. The Defendants’ illegal conduct has been willful and/or flagrant.

 Therefore, Plaintiff is entitled to treble damages, including reasonable attorney fees

 according to Section 15.21(a)(1) of the Texas Business and Commerce Code.

        240. Plaintiff has suffered and will continue to suffer irreparable harm due

 to Defendants’ illegal conduct that cannot be adequately compensated with money

 damages. Because Plaintiff’s legal remedy will not be adequate to compensate for




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 irreparable injuries inflicted by Defendants, Plaintiff is entitled to permanent

 injunctive relief.

                                  JURY DEMAND

       241. Plaintiff demands a jury and has tendered the appropriate fee.

                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for relief and judgment as follows:

       A.     Judgment in favor of Plaintiff and against each Defendant, in an

 amount to be determined at trial including, but not limited to, compensatory

 damages, trebled damages, and pre-judgment and post-judgment interest, as

 permitted by law;

       B.     An award of the cost of the suit, including a reasonable attorney’s fee;

       C.     Order that Defendants, their directors, officers, employees, agents,

 successors, members, and all persons in active concert and participation with them

 be enjoined and restrained from, in any manner, directly or indirectly, committing

 the violations of the Texas Free Enterprise and Antitrust Act of 1983, in which

 they and co-conspirators have been engaged; and

       D.     Such other and further relief as the Court deems just, equitable, and

 proper.

 Dated:       April 6, 2017




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                                    Respectfully submitted,

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 of Court will transmit a Notice of Electronic Filing to all counsel of record on this
 the 7th day of April, 2017.


                                                 /s/ David E. Wynne
                                                David E. Wynne




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